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 1                                               THE HONORABLE JAMAL N. WHITEHEAD

 2

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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     ATM SHAFIQUL KHALID; XENCARE
 9   SOFTWARE, INC.,
                                                         Case No. 2:24-cv-00449
10                                     Plaintiffs,
                                                         DECLARATION OF MARK P.
11          v.                                           WALTERS IN SUPPORT OF
                                                         PLAINTIFF’S MOTION FOR
12   MICROSOFT CORPORATION, a                            REMAND
     Washington Corporation,
13
                                      Defendant.
14

15
            I, Mark P. Walters, hereby declare that the following is true and correct:
16

17          1.      I am over the age of eighteen and a resident of the State of Washington. I
18
     make this declaration from my personal knowledge and am competent to testify to all
19
     matters herein. I am one of the attorneys for the Plaintiffs in this matter and partner working
20
     in intellectual property litigation for Lowe Graham Jones PLLC (LGJ).
21

22          2.      Attached as Exhibit A is a true and correct copy of the complaint filed by

23   the Plaintiffs in this case in King County Superior Court on January 28, 2019. Plaintiffs’
24   original complaint in this matter alleged at paragraphs 27 and 33 that Microsoft’s improper
25
     claims to own the Disputed Patents harmed Khalid’s “IP licensing and/or incubation
26

     DECLARATION OF MARK P. WALTERS - 1
     No. 24-cv-00449
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 1   business” which business involved “efforts to … license developed technologies, [sic] to
 2   others.”
 3
             3.      Allegations that Microsoft’s conduct damaged “IP licensing and/or
 4
     incubation business” which business involved “efforts to … license developed technologies,
 5
     [sic] to others” were carried over into his second amended complaint filed on November
 6

 7   20, 2023, at paragraphs 28 and 34. Attached as Exhibit B is a true and correct copy of

 8   Khalid’s Second Amended Complaint filed November 20, 2023.
 9           4.      Khalid handled this case pro se until undersigned counsel appeared for him
10
     on September 28, 2023, to assist Khalid in his efforts to complete discovery, prepare the
11
     case for trial, and to conduct the trial.
12

13           5.      Since counsel appeared for Khalid, the parties have produced thousands of

14   pages of relevant documents, taken several depositions, briefed and argued cross-motions

15   for summary judgment, and declared the case ready for trial pursuant to King County local
16   civil rules. Attached as Exhibit C is a true and correct copy of the parties’ Joint Statement
17
     of Trial Readiness which was filed on March 29, 2024.
18
             6.      Trial was set to begin in this matter on May 20, 2024, and the parties were
19
     to appear at a pretrial conference on April 5, 2024. Attached as Exhibit D is a true and
20

21   correct copy of the order setting the pretrial conference.

22           7.      The parties filed cross motions for summary judgment on February 2, 2024,
23
     and those motions were heard by Judge Jim Rogers on March 1, 2024. At the time of
24
     Microsoft’s Notice of Removal on April 3, 2024, the parties had not received an order
25
     deciding either dispositive motion.
26

     DECLARATION OF MARK P. WALTERS - 2
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 1          8.      On September 18, 2023, Plaintiffs served a supplemental witness disclosure
 2
     pursuant to King County local civil rules. This supplemental witness disclosure identified
 3
     both Tony Mason and Scott Cragun as experts for Plaintiffs, as well as a summary of their
 4
     expected testimony. Attached as Exhibit E is a true and correct copy of Plaintiffs’
 5
     supplemental witness disclosure. I note that the certificate of service for this disclosure says
 6

 7   September 18, 2022, but it was served on September 18, 2023.

 8          9.      Substantially the same disclosure was made for Tony Mason in a
 9   Supplemental Witness Disclosure served by Khalid on March 20, 2023. A true and correct
10
     copy of Khalid’s March 2023 witness disclosure is attached hereto as Exhibit F.
11
            10.     The damages documents referenced in Khalid’s disclosure of testimony for
12

13   Mr. Mason and Mr. Cragun refer to documents he served on March 20, 2023, entitled

14   “Damage Model Washington State Court” and two claim charts. The first document

15   disclosed in detail one of Khalid’s damages theories based on “a hypothetical licensing
16   negotiation model where Khalid would have earned fair royalty from his inventions” but
17
     for Microsoft’s wrongful conduct. The referenced claim charts map the elements of several
18
     claims of US Patent Nos. 8,782,637 and 10,846,118 onto Microsoft’s Xbox One product
19
     and Sony’s Play Station PS4 product. The claim chart for Microsoft also mapped the
20

21   elements of Claim 1 of U.S. 8,286,219 onto Microsoft’s Windows 10 S-mode product.

22          11.     The parties conducted formal mediation on February 12, 2024, before the
23   Honorable Elizabeth D. Laporte (Ret.). In connection with this mediation, on February 8,
24
     2024, Plaintiffs provided a preliminary report from its expert Tony Mason. A true and
25
     correct copy of this preliminary report is attached hereto as Exhibit G. Plaintiffs mediation
26

     DECLARATION OF MARK P. WALTERS - 3
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 1   statement also included preliminary damages calculations from Scott Cragun, including a
 2   calculation for “[d]amages based on per-unit license received by Microsoft as a result of
 3
     improper ownership claims” to the Disputed Patents because “Microsoft has essentially
 4
     enjoyed a license under Khalid’s patents without remuneration to Khalid.” The damages
 5
     calculations at mediation also included damages because “Microsoft’s breach resulted in
 6

 7   damage to Khalid’s patent term for at least the ’219, ’637, and ’118 patents, as he was

 8   unable to license or enforce these while Microsoft maintained its improper ownership

 9   claims, which effectively clouded Khalid’s title and deprived him of the benefit of the entire
10   patent term, beginning in February 2015.”
11
            12.     Attached as Exhibit H is a true and correct email thread between Microsoft
12
     counsel Erin Bernstein and the King County Court’s Bailiff Monica Gillum regarding an
13

14   order on pending motions for summary judgement with Ms. Bernstein notifying the court

15   not to rule on the pending summary judgement motions.

16   I HEREBY SWEAR UNDER PENATLY OF PURJERY THAT THE FOREGOING IS
17   TRUE AND CORRECT.

18
        EXECUTED at Seattle, Washington on this 11th day of April, 2024.
19
                                              LOWE GRAHAM JONESPLLC
20

21

22                                            Mark P. Walters, WSBA No. 30819
                                              Mitchell D. West, WSBA No. 53103
23                                            Walters@LoweGrahamJones.com
                                              1325 Fourth Avenue, Suite 1130
24                                            Seattle, WA 98101
                                              T: 206.381.3300
25
                                              F: 206.381.3301
26

     DECLARATION OF MARK P. WALTERS - 4
     No. 24-cv-00449
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 1                               CERTIFICATE OF SERVICE

 2          I, Rischel Voigt, hereby certify that a true and correct copy of the foregoing
 3   document has been served on all counsel of record via the Court’s CM/ECF system and/or
 4
     electronic mail on April 11, 2024.
 5
                                                          By: /s/ Rischel Voigt ____________
 6                                                            Rischel Voigt, Paralegal
 7

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     DECLARATION OF MARK P. WALTERS - 5
     No. 24-cv-00449
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EXHIBIT A
          Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 7 of 103




                                                    FILED
                                              2019 JAN 28
 2                                            KING COUNTY
                                          SUPERIOR COURT CLERK
 3
                                          CASE #: 19-2-02755-0 SEA
 4

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 6

 7
                     TN THE SU PERI O R COU RT OF THE STATE OF WAS HINGTON
 8                                       COUNT Y OF Kl G

 9

10
     ATM SHAFI QUL KHA LID , an indi vidual and
l1
     on behalf of simi larly situated, Xe ncare
12
     Software, Inc.
13
                                                                COMPLAINT FOR DAMAGES FOR
14                                                               CPA, BREACH OF CONTRACT,
                                                Pl a intiff(s),         CLASSACTION
15

16        vs .

17
     MICROSOFT CO RP ORATION ,
18
     a Washington Corporation,
19
     One Redmond Way, Redmond, Washington
20

21

22                                         Defendant s .

23
                 COMES NOW the pl ainti ff, A TM Shafi qui Khalid (" Kh alid"), and Xencare Software,
24
     Inc. (" Xencare") together referred as "Plaintiff' or "Plaintiffs" fo r a cause of action against
25

26   De fend ant M icrosoft Co rporati on, (" Mi crosoft" ), as " Defendant(s)", state and a ll ege as fo ll ows:


      CO MPLA IN T                                                           ATM SHAFIQUL KHALID
      KH A LID v M ICROSOFT                                                          17446 E 28'h St.
      Page I of 30                                                                 Redmond , WA 98052
                                                                                      (425) 445-7 157
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 2                                       I.      JURISDICTIO        AND VENUE
 ..,
 .)



 4
       I.     The pl ainti ff, ATM Shafiqul Khalid (hereinafter referred to as "Plaintiff' and by his last
 5
               name "Khalid "), is a citi zen of King County, Washington.
 6
       2.     The defendant, Microsoft Corporation, (hereinafter referred to as "Microsoft" or
 7

 8            "Defendant(s)"), is a Washingto n corporation doing business in Washi ngton. Microsoft has

 9             its physical office to conduct business in Kin g Co unty, Washin gto n, where Plainti ff worked

10             for three (3) years during 2012-2015 and for 8 years during 1998-2006.
11
       3.     This court has jurisdiction over the subj ect matter and personal jurisdiction over the
12
               Defend ant pursuant to RCW 4.28. 185( 1)(a)-( c) and because the ~ mployee Agreement was
13
              entered into in Washington tate.
14

15 4.          Venue is proper pursuant to RCW 4.12.020, RCW 4.12.025 as most of the events giving rise

16             to the complaint occurred in King County, Washington.

17 5.          All the claims rise from a) dispute over written contract with a six (6) year of statuary
18             lim itation pur uant to RCW 4.16.040(1), b) violation of Washington Consumer Protection
19
               ACT that ha a four (4) year statuary limitation pursuant to RCW 19.86.1 20, and c) property
20
              damage that has a three (3) year statuary limitation pursuant to R W 4.16 .080(2).
21

22

23                                                    II.     FACTS

24                                                     Background

25

26


            COMPLA I T                                                       ATM SHAFIQUL KHALID
            K l IA LID v MICROSO FT                                                  17446 NE 28' h St.
            Page 2 or30                                                            Redmond. W/\ 98052
                                                                                      (42") 445- 7 157
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     6.     Microsoft Corporati on (commonly referred to as Microsoft) is an American multinational

 2          technology company headquartered in Redm ond, Washingto n, that deve lops, manufactures,
 3
            licenses, supports and sells computer software, cons umer electronics and personal computers
 4
            and services. In 20 18, Mi crosoft reported $1 10 billi on revenue I 34,000 emp loyees
 5
            world wide with around 47,000 employees in Washington alone. Its best-known software
 6
            prod ucts are the Microsoft Windows line of operating systems, Microso ft Office suite, and
 7

 8          Internet Exp lorer web browser. Its fl ags hi p hardware prod ucts are the Xbox game co nso les

 9          and the Microsoft Surface tablet lineup. It is the wo rld's largest software make r measured by

10          reven ues. It i also one of the wo rl d' most valuab le compani es. Microsoft was fou nded by
11
            Bi ll Gates and Paul All en on April 4, 1975, to develop and se ll BAS IC interpreters fo r Altair
12
            8800. It rose to do minate the personal computer operating system market with MS- DOS in
13
            the mid -1980s, fo ll owed by Microsoft Windows. Microsoft also conducts a patent licensing
14

15          business through Microsoft Techno logy Licensing, LLC.

16
17 7.       Plainti ff Khali d is a very creati ve engineer. Before joining Mi crosoft Pl ainti ff, he publi shed
18          14 research papers in journal and confe rence proceed ings. Plaint iff had been named inventor
19
            in 20 patents iss ued by United State         Patent and Trademark Office ("USPTO"), and
20
            European Patent Office ("EPO"). Plainti ff always had hi s own creative projects in various
21
            areas to exercise his creati vity and intellectual capacity. Pl ainti ff is an expert in the area of
22

23          Co mputer software, Operating Systems, Cloud and virtuali zati on with 20+ years of

24          expen ence.

25

26


          COMPLA INT                                                          AT M SHAFIQU L KHALID
          KHALID v M ICRO OFT                                                         17446 NE 28' h St.
          Page 3 or 30                                                              Redmo nd, WA 98052
                                                                                       (425) 445-7157
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     8.     On December! 6, 20 11 , Microsoft offered ATM Shafiq ul Khali d a job as Sen ior Program

 2          Manager in Microsoft Bing division. Microsoft recruiter Shannon Carlsen asked Khalid to
 3
            sign a Micro oft Corporation Employee Agreement ("Emp loyee Agreement"). Before
 4
            signing the Emp loyee Agreement, Khalid wanted to attach an In vention Disclosure li st under
 5
            section 6 of the Micro oft Emp loyee Agreement, but there was not a way to attach such a li st
 6
            online. The Microsoft employee agreement had a line "If you wish to attach a li st of
 7

 8          inventions, per paragraph 6, below, please contact yo ur recruiter". Khalid contacted Shannon

 9          Carlsen as required by the agreement.
10 9.       Microsoft Employee Agreement section 5 contained, "as to any Invention complying with
11
            5(a)-(c) above that results in any product, service or development with potential commercial
12
            app li cation, MICROSOFT shall be given the ri ght of first refusa l to obtain exc lusive rights
13
            to the In ve ntion and such product, service or development." The inventio n referenced here
14

15          was an invention so lely owned by emp loyee Khalid and hi s startup.

16 10. Section 6 of this employee agreement contained, "I have attached a li st describing all
17          Inventions belonging to me and made by me prior to my employme nt with MICROSOFT
18          that I wish to have excluded from this Agreement. If no such Ii ti attached, I represent that
19
            there are no such Inventions."
20
     11. On December ! 9, 2011 , Khalid sent an email to Shannon Carlsen attaching an Invention
21
            disc losure Ii t per in truction from Shannon. Khal id signed the Emp loyee Agreement. Later
22

23          Shannon Carlsen acknowl edged that she had rece ived the invention disclosure li st as

24          attachment. Shannon copied that email to recruiting coordinator Ricardo Bustamante. Khalid

25          was given no furt her instructions on this invention disclosure Ii t.
26


          CO MPLAINT                                                        ATM SHAFIQUL KHALID
          KHALID v M ICROSOFT                                                         17446 NE 28' h St.
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     12. On January9, 20 12, Khalid parti cipated in a Microsoft empl oyee orientati on program where

 2        Khalid was required to sign a hard copy of the employee agreement using INK. Khalid again
 3
          submitted an inventi on di sc losure li st and left a hand -written note on the Empl oyee
 4
          Agreement to show there were additi onal pages.
 5
     13. The invention di sclosure list Khalid submitted on December! 9,2011 , had nine (9) patentable
 6
          items with short description of the invention. Khalid also marked a few items as pending
 7

 8        patent applicatio ns with United States Patent and Trademark Office.

 9 14. On Jul y ] 5, 20 14, the United States Patent and Trademark Office issued           patent 8,782,637
10        (hereinafter referred to as "mini-cloud patent") that Khalid listed in the Invention Disclosure
11
          document on December 19, 20 l l.
12
     15. As part of Microsoft job appli cation Khalid submitted a resume. The resume had an
13
          embedded link on pending patent fro m its summary secti on. The list wo uld have shown the
14

15        publication of the mini-cloud patent application on Decemberl 2, 2011.

16
     16. After signing the Microsoft employee agreement on December ] 9, 20 11 , Pl aintiff wo rked for
17
          Microsoft fro m January9, 2011 , unti l February 2, 2015 , at Mi crosoft offi ces in Bell ev ue and
18
          Redmond , Washington. Plainti ff also worked for Mi crosoft during the years of 1998-2006.
19
20
     17. On May 27, 20 16, as ex plained in more details later, Microsoft notifi ed Khalid through its
21
            xternal counse l that no exc lusion li st ex isted, Microsoft got so me ri ght to patents Khalid
22
          had Ii ted in the di sclosure li st, and Khalid need to give Microsoft royalty free license to
23

24        clear patent di spute.

25

26


       CO MPLA INT                                                         ATM SHAFIQULKHALID
       Kl !AUD v MICROSOFT                                                         17446 NE 28'" St.
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       18. Microsoft has 88% market share in desktop operating system. Microsoft has 88% market

 2         share in office productivity su it market such as Microsoft Office suites that often are
 _,"
           delivered as cloud services such as Office365 . Microsoft also has significant market share in
 4
           Gaming space.
 5
                                                   Development of
 6
                                          8,286,219 and 8,782,637 Patent
 7

 8

 9 19. Whi le in graduate school, during 1996-1997 Plaintiff invented an idea of subscription that
10         wo uld allow a user to consume software without driving to store to buy it. During 1997,
11
           Plaintiff did some work on subscription in very rudimentary form. Plaintiff continued hi s
12
           work for years through 2010 when the idea evolved over time and transformed into mini-
13
           cloud subscription that would allow a user to consume computing resources and content on
14

15         demand, integrating parts of Plaintiff's subscription idea plaintiff had in 1996. Plaintiff had

16         one patent appl ication fi led in 200 1 software subscription and another in 2007 to cover

17         content sub cription including digital movie. The idea evolved to form cloud computing for
18         residential users using mini-cloud host and thin terminals. The US Patent office issued a
19
           patent 8,782,637 ("637 patent") in 20 14. Pl ainti ff had a total of 30 ideas in the form of patent
20
           or in the development stage. To date, in spite of any adverse situation, Plaintiff continued
21
           add ing his labor to refine and prosecute patent applications through US patent office coming
22

23         from those ideas.

24 20.     Mini-cloud 637 patent comprises several components: a) thin terminal something like Roku

25         stick that can stick to any monitor then connect to b) subscription provider in the cloud and
26


         CO MPLAI T                                                         ATM SHAFI QUL KHALID
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          c) connect to a mini-cloud host device to deliver co mputing reso urces with specific

 2        integration techniques outlined in the patent. Microsoft Xbox One uses all components of
 3        637 patents or mini-cloud invention. The invention is expected to reduce consumer cloud
 4
          subscripti on cost by device conso lidation.
 5
     2 I. Aro und 2005 , Plaintiff, whil e working with hi s friends and partner, made an in vention to
 6
          protect computer systems from viruses and spyware. Pl ainti ff filed a patent appli catio n in
 7

 8        2005 titl ed "SAFE AND SECURE PROGRAM EXECUTION FRAMEWORK". The

 9        ap plication expired in 2006.

10 22. On February 16, 2008 , after months of efforts to commerciali ze the subj ect matter of the

11
          expired patent application on security, after some validation and improvement with "single
12
          system framework". Pl aintiff startup team fil ed the 2005 patent application with the
13
          improved version titled " SAFE AN D SECU RE PROGRAM EXECU T IO
14

15        FRAM EWORK" with application number 12/032,663.

16 23. On October 9, 2012, the US patent office issued Patent 8,2 86,219 ("the '2 19' Patent") for
17        the application number 12/032,663 .
18 24.    All those years, Khalid recruited a team of engineers to incubate and producti ze both security
19
          and mini-cloud technologies. Khalid and hi s team of around 20 people invested more than
20
          30,000 engineering hours over the years with eq uivalent of at least $3.5 mill ion investment
21
          as va lue of labor. And Khalid and hi co unsel recentl y spent $2 million to clear claims which
22

23        one of Microsoft' s partner had made on the 2 19 and the 637 patent.

24 25.    Defend ant 's mini-cloud patent was developed to host and deliver any digital services through

25        cheap terminals in a cost-effective way that makes the cloud services affordable to an
26


       CO MPLA INT                                                        ATM SHAFIQUL KHALID
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           ordinary residential user. And the security patent was developed to protect the host like

 2         systems.
 3
     26.   Khalid founded Xencare Software, Inc. , and owns majority stocks. Xencare delegated certain
 4
           rights to Khalid.
 5

 6
                                  Micro-Data Center Incubation IP Licensing Efforts
 7

 8

 9 27.     By the year 2014, thin devices with a form factor simi lar to the "mini-cloud thin terminal"

10         were developed by various companies including Roku, Amazon FireTV stick, etc. Those
11
           dev ices were o popular that today more than half of US hou ehold s use one of those devices.
12
           Plaintiff decided to incubate further on ideas using the mini-cloud host component with a
13
           business model called Micro-Data Center that can work as a single device or form a mega
14

15         data center distributed inside a City. Plaintiff was planning to form an IP licensing business

16         and incubation to further develop ideas.

17 28. On or around February 12, 20 13 , Plaintiff also had a discuss ion with Microsoft Vice
18         President VP Amit Mittal on the mini-cloud invention. Amit later told Khalid that he had a
19
           di cussion within Microsoft and wouldn 't pursue the idea.
20
     29.   In March 2014, Plaintiff had a meeting with Microso ft Executi ve Vice President (EVP) Kirill
21
           Tatarinov reporting to Microsoft CEO Satya Nadell a. Plaintiff discussed the mini-cloud
22

23         invention in details. Kirill advised Khalid to talk to Stephen Elop who was planning to join

24         Microsoft as part of Microsoft Nokia acqui sition. Stephen Elop was des ignated to head

25         Microsoft device division that included Xbox One.
26


       CO MPLA INT                                                       ATM SHAFIQUL KHALID
       KII AL ID v M ICROSO l·T                                                 17446 E 28'h St.
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     30. On June 30, 2014, Plaintiff sent an email to Stephen Elop, Microsoft EVP reporting to Satya

 2          adell a, Microsoft CEO. The email included Sa tya       ad ell a, Brad Smith , Microsoft General
 3
          Counse l, and a few executives. In the email , pl aintiff proposed a business model based on
 4
          the mini-cloud invention. On July 1, 20 14, Stephen Elop declined Khalid ' s proposal.
 5
     31. In 2015 , after being terminated by Microsoft, Plaintiff put in efforts to incubate and form
 6
          business, or license developed techno logies, to others. Plaintiff shared hi s proposal with
 7

 8        Microsoft as well. Plaintiff needed some fund from inve tors as well.

 9 32.    Plaintiff discussed part of software subscription with Bob Rinne, Khalid ' s manager at

10        Microsoft, around 2000 timeframe. Microsoft declined Pl ainti ff' s idea.
11
     33 . After leav ing Microsoft on Feb 2, 2015 , Plaintiff was trying to accumulate resources to form
12
          an IP li censing and/or incubation business. Khalid had around 30 inventions in the pipeline
13
          to protect the micro-data center space to solve consumer problem in a market size of $70
14

15        billion/year. Khalid wrote a proposal and shared with Microsoft a we ll.

16 34.    Plaintiff planned to give some party easy license to his patent in an attempt to build his patent

17        portfolio and move on incubation. When parties found that Microsoft had a demand to get
18        free license to all present and future patent famil y, this deterred party investors, which made
19
          it imposs ible fo r Khalid to fin anciall y support hi work on hi s 30 patent port fo lio and mi cro-
20
          data center ideas.
21

22

23                                 Microsoft Claims Khalid's Patents in 2015

24

25

26


       COM PLA I T                                                          ATM SHAFIQUL KHALID
       KH A LID v M ICROSOFT                                                         17446 NE 28'h St.
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     35 . On February 19, 20 15, Patrick Evans, Microsoft inhouse patent attorney wrote to Khalid "As

 2        per the Microsoft Corporation Employee Agreement you executed on December 19, 2011 ,
 3
          Section 5 sets forth your obligations to assign intellectual property to Microsoft. Section 6
 4
          addresses inventions to be excluded, and no inventions were listed by yo u for exclusion". On
 5
          the same date Kha lid notifi ed Patrick that Khalid had submitted an exc lusion li st.
 6
     36. On March 3, 20 15 , Patrick Evan wrote Khalid " ... As per the empl oy ment agreement,
 7

 8        Microsoft retains an assignment right in the patents. Please let me know if you need anything

 9        more" referrin g to US patent 8,782,637 and 8,286,2 19l             ending a link to a form

10        http://www.uspto.gov/forms/pto 1595.pdf'. This for m is used to transfer patent titl e and ri ght
11
          fro m one party to another. In this case, Patrick wanted Khalid to transfer hi s patent ri ght to
12
          Microsoft.
13
     37. On March 13, 20 15, Khalid told Patrick Evan that Khali d submitted a copy of his ori ginal
14

15        20 11 in vent ion disc losure li st.

16 38. On Apri l 14, 20 15 Khalid requested Patrick to check with the hand-si gned (using INK)
17        employee agreement that Khalid igned on January 9, 20 12. Khalid also requested to have a
18        copy sent to him of the hand signed empl oyee agreement. On April 16, 20 I 5, Khalid re-
19
          requested from Shannon Flynn to have a copy sent to him of the INK signed Employee
20
          document. On Apri l27, 2015, Khalid notifi ed Patrick that Khalid had not received the INK
21
          signed copy of the 201 2 Employee Agreement.
22

23 39. On June 15, 20 15, Kha lid notifi ed Patrick over Email that Microsoft Xbox One is infringing

24        on Khalid ' s mini-cloud patent US 8,782,637, and he asked Patrick if there was any other way

25        to reso lve the dispute.
26


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     40 . On June 22, 20 I 5, Khalid told Patrick over Emai l that Khalid will give one security patent

 2        to Microsoft if Microsoft pay build out cost for that patent. Khalid also told Patrick that
 3        Khalid will give license to Microsoft for mini-cloud patent if Microsoft is willing to pay
 4
          reasonable royalty fee. Patrick declined that offer.
 5
     4 1. On Jul y 9, 20 15 , Patrick told Khalid that he Patrick will put together an agreement if Khalid
 6
          wil l agree to give Microsoft royalty free access to all present and future patents related to
 7

 8        Min i-c loud systems in exchange of reso lving all disputes. Khalid found this offer to be very

 9        unfair, anti-competitive, and thus Khalid declined this "resolve offer" given by Patrick .

10 42. In July, 2015 , Patrick also clarified that Microsoft' s claim would extend to mini-cloud patent

11
          fa mil y fo r past, present, and future patents that indirect ly claim all the other patents in the
12
          Invention Disclosure documents.
13
     43. On August 29, 2015 , Khalid told Patrick and Shannon that Microsoft's claim to inventions
14

15        is causing problems for Khalid to refile many patent applications related to the patent fami ly

16        listed in the Invention Di sclosure. Microsoft did not respond to rel ease its claim.

17 44 . On May 27, 2016, Khalid received a letter ("M&G letter") from Microsoft outside counsel

18        Andrew T. Pouzeshi at Merchant & Gold. The letter said, "You also agreed to provide a list
19
          identifying all inventions made by yo u or belonging to you prior to yo ur employment with
20
          Microsoft. There is no ev idence that yo u provided a li st of inventions prior to either period
21
          of employment. .. yo ur fai lure to exclude inventions described in the ' 2 19 and ' 637 patents
22

23        resulted in a grant of an exclusive, royalty-free , irrevocable, worldwide license to those

24        invention s to Microsoft.". Through the ex ternal cou nse l, for the first time in a signed letter,

25

26


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              Microsoft officially denied that Khalid had ever provided a li st of inventions made by him

 2            or belonging to him .
 ,,_,
        45 . Microsoft asserted Citri x Systems, Inc was a Microsoft ve ndor. Microsoft also said, " It is
 4
              Microsoft ' s standard practice when entering into contract with vendors that Microsoft owns
 5
              all of the intellectual property produced by the vendor and the vendor employees" . Upon
 6
              receipt of the M&G letter Khalid demanded Microsoft to send him Vendor Agreement but
 7

 8            Microsoft refused to share with Khalid.

 9            " Microsoft, in the M&G letter, told Plaintiff that until Khalid grant royalty free license to

10            Microsoft to the 637 and the 2 19 patent, Khalid can' t te ll hi s investors that Microsoft has no
11
              interest in the patents.
12

13
                                         Microsoft Partner Citrix Systems, Inc.,
14

15
                                               Claimed 637 and 219 patents

16 46. On September 25 , 20 11 , C itrix Systems, Inc. ("C itr ix") claimed underl ying patent app lication

17            resu lting in the 2 19 and the 637 patents and withheld plaintiffs severance money until Khalid

18            assigned patent app lication to Citrix.
19
        47.   On October 2, 20 15, Kh a lid filed a suit against Citri x Systems, Inc.(" C itri x") in King County
20
              Superi or Court to clear cloud on title to 219 patent and 63 7 pate nt. C itrix is a Microsoft
21
              busin ess partner and vendor. Citrix chose to dispute Khalid 's ownership to the 2 19 and 637
22

23            patent since year 20 11 by saying Khalid didn ' t disclose hi s patent wo rk and so Citrix should

24            have the ri ght to Khalid patent with the emplo yme nt contract Khalid had signed with C itri x.

25

26


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           Citrix did not prevail on their asse,t ion. Citri x co unter sued Khalid and Xencare on May 12,

 2         20 16 in federa l court to claim 219 and 637 patents.
 3
     48. During the state court trial, aro und 2017, Citrix Systems claimed Micro oft was their partner
 4
           and Citri x delayed the state co urt case to do addi ti onal di scovery relying on the Mi crosoft
 5
           M&G letter. Those delays resul ted in increased cost and loss of time to Khalid .
 6
     49.   In 201 7, Citri x sent a di scovery request to Microsoft as part of the state co urt proceedings.
 7

 8         Microsoft produced the 2011 Microsoft Employee Agreement without the exclusion list

 9         Khali d submitted to Microsoft on Decem ber 19, 20 11.

10 50.     During the tri al in Jul y of 201 8, Citrix chief archi tect Brad Petersen testified and suggested
11
           that Citrix wanted to protect its partner and suggested that Khalid 's patent could have been
12
           hostil e to those partners. Brad also testified that Citrix never sold anti -v irus kind of products,
13
           an area 2 19 patent targeted to so lve. Brad also testified that Citrix didn ' t se ll any thin client
14

15         products either. 637 patent included thin terminal simil ar to thin cli ent.

16 51.     During the state co urt proceedings, around 20 17, durin g communi cation with Khalid 's

17         co un se l, Citri x counse l said that Citri x has a co mm on interest with Mi crosoft to ensure that
18         a patent doesn't get to patent tro ll. Citrix also testified that Citri x and Mi crosoft together held
19
           70% market share in virtual desktop space.
20
     52. On Jul y 16 thro ugh 3 1, 201 8 at the state court trial, Khalid 's experts, John Fo rbes and
21
           Lorraine Barrick, testified that the value of the software security business and the thin
22

23         terminal business based on both the 219 and the 63 7 patent wo uld have been aro und $27

24         mi lli on. Citrix showed the Microsoft M&G letter to the j ury to undermine the damage.

25

26


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     53 . On August 1, 2018, in a Lmanimous verdict, 12 King County jurors fo und that Citrix breached

 2        its agreement, Khalid didn 't breach the same agreement by not assigning 219 patent and 63 7
 3        patent to      itri x. Sub equentl y, King County Co urt Jud ge entered a $5 .8 million judgment
 4
          against Citrix that included a $3 million Jury award , and $2.8 million to cover fees and costs.
 5
          The Court also entered a declaratory judgment against Citrix that Citrix doesn' t have any
 6
          right to either the 219 or the 637 patent. The cost of liti gation exceeded $2.8 million.
 7

 8

 9                       Market Size of Technology Covered by Patents and Infringement

10

11
     54. On or arou nd Jul y 2 1, 2017, Microsoft CEO Satya Nadella said in their financial reporting,
12
          "Our gam ing bus iness now is more than $9 bil li on and growi ng profitably - 2017".
13
          Considering Microsoft is not the onl y player, the overall market size is expected to total at
14

15        least $400 billion in business over 20 years. A nomi nal 1% royalty wo uld et the infr ingement

16        value to $4 billion that Microso ft fraudul entl y tri ed to get access to .

17 55. Microsoft Xbox One product infr inges on claim 1, 4, and 20 of US patent 8,782 ,637 which

18        is a violation of plaintiffs exclusive right protected under 35 USC § 271. The infringement
19
          is a direct using of all of the compo nents in the 637 patent, or Xbox One uses components in
20
          an equ ivalent way that infringes on the 637 patent. The Microso ft infringement is wi ll ful ,
21
          and Microsoft used fra ud to claim the 637 patent right to avoid liability under infringement
22

23        laws.

24                           Offshore Tax Engineering Sc heme to Avoid avoid Taxes

25

26


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     56.   In 201 2, one US senate panel report said that from 2009 to 2011 , Microsoft shifted $21 bi Ilion

 2         offshore, almost half of its U.S. retail sales revenue, saving up to $4.5 billi on in taxes on
 3
           goods so ld in the United States. The report al o said the oftware giant shi fts royalty revenue
 4
           to units in low-tax nations, such as Singapore and Ireland, avoiding billions of dollars of U.S.
 5
           taxes. Those unfair practices eventually impact consumers.
 6
     57. In 201 5, the New York Times and Bloomberg made reports based on leaked Panama papers
 7

 8         that corporations had been usi ng intellectual property ri ghts as a vehicl e to transfer money to

 9         offshore accounts to avoid income taxes in the form of tax engineering. In such a tax

10         engineering scheme, corpo rations wo uld tran fer ri ght to intell ectual properti es to an offshore
11
           entity often without any empl oyee and then make a generous royalty payment to such an
12
           offshore account and enjoy low or no tax. Those leaked reports and public statements showed
13
           that Microsoft and its partner moved billions of dollars offshore.
14

15 58.     By 20 17, corporation have moved around $2.8 trillion dollars that shou ld have been in the

16         USA and tax revenue from them cou ld have funded many public proj ects. If corporations

17         develop their intellectual properties through extortion, ill egal, unfair and gross ly unethical
l8         practi ces, those tax eng ineering schemes would be unfa ir and ill egal practices. Also, those
19
           corporatio ns never di closed to its empl oyees that empl oyees work towards intellectual
20
           propertie would be used in such unfair tax engineerin g practi ces. With full disc losures,
21
           patriotic employees who are the actual owner of intellectual properties wou ld not ass igned
22

23         their private ri ght to co rporati ons to assoc iate themselves with such tax engineering scheme

24         that deprive our nation as a whole and their own fa mili es of the tax supported program and

25         places of expectation for our tax dollars.
26


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      59.   Corporations used intellectual property to increase brand value/trademark and used the

 2          co llection of intellectual property to make generous royalty payments to offshore acco unts

 "
 .)
            that held rights to intellectual property in order to receive royalty payments and to deceive
 4
            the IRS and the    S public.
 5

 6
                                 Microsoft Employee Patent Grabbing Scheme is
 7

 8                                         Injurious to the Employees Rights

 9 60.      Microsoft Agreement section 5 award Microsoft "first ri ght of refusal" to any employee

10          patent even if the patent is not related to Microsoft business and protected under RCW
11
            49.44. 140. That section violates Washington Statute RCW 49.44.140 and similar statutes in
12
            other states.
13
      61.   The "first ri ght of refusal " has value greater than Zero (0) and an employee losses that every
14
            day he remain under the contract. The right is in the form of an option, Microsoft can choose
15

16          to exercise that option at Zero(0) exerc ise price at their own choosing. The option is more

17          like a mining right to a piece of land owned by employee where the opt ion has value even if

18          it is unknown if that land has any mineable materials.
19
      62.   The Microsoft Employee Agreement assigns right to an employee's future inventions during
20
            his employment at the time he signs the Empl oyee Agreement. The agreement doesn't set
21
            any scope or boundary to such inventions. Microsoft don't have any inhouse objective
22

23          standard , or review process, rather the company applies subjective financially motivated,

24          anti-competiti ve practices.

25

26


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     63. Any right associated with a patent is a right protected by the Fourteenth Amendments of the

 2        United States Co nstitution . By not defining a clear bound ary, Microsoft deprives its
 3
          employee of due process of law. Microsoft contami nates employee ' future invention by
 4
          creating cloud and uncertainty around the ownership and rights aro und the titl e to invention
 5
          upon signing emp loyee agreement. Microsoft drives the value of such inventions to Zero(0)
 6
          or negati ve dollar by demanding free license where employee would bear all expenses to
 7
 8        maintain patent famil y

 9 64.    Microsoft by claiming any of Plaintiff s patent rights, claimed some service plaintiff

10        rendered for himself and hi s start-up that plaintiff would never render for any employer
11
          vo luntaril y. Plaintiffs such serv ice covered thousands of hours of work he added in hi s
12
          patents in terms of development and prosecution of patents that by no means fa ll s under the
13
          term of Microsoft mployee Agreement.
14

l 5 65. The Microsoft Employee Agreement, Secti on 5 and Section 6, are desi gned to get free labor

16        fro m emp loyee and those emp loyees would be wo rking without knowing that Microsoft

17        would or could claim and benefit from this free labor.
18 66.    Microsoft 's use of the exclusion list under Section 6, either destroying the employee's
19
           ubmitted list, as in this Khalid's instant, and perhaps an unknown number of other
20
          employee ' , or refusing to acknowledge it existence, as thi s situation has shown, is des igned
21
          to contaminate an employee's patent that effective ly transfers free labor to Microsoft that the
22

23        employee would never render to Microsoft vo luntaril y.

24 67. Once Microsoft succ ssfu ll y contaminate an emp loyee' patent, as in the instant case, that

25        employee would need tremendous financial resources to clear their patent right through
26


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           cou rt. An ordinary employee can ' t afford the time or the legal costs to pursue and chall enge

 2         a company on the legal court front , nor should anyone be forced to chall enge deception ever,

 3         and though in the face of such deception, an ordinary emp loyee is forced to share his already
 4
           given free labor with Microsoft, unwillingly.
 5
     68.   Microsoft asked Plaintiff to s ign Employment Agreement on Decemberl 9, 20 11. Plaintiff
 6
           started getting a salary from Microsoft on January 9, 20 12. Microsoft later said the Employee
 7

 8         Agreement was in force from December! 9, 2011, not from January 9, 2012, therefore the

 9         ag reement tran sferred all inventive services to Microsoft from December 19, 20 11 . Microsoft

10         didn ' t pay for 3 weeks of services, but claimed inventive service in an attempt to retain free
11
           labor, first right of refusal to employee patent, and assignment right to invention for that 3
12
           weeks window.
13
     69.   Microsoft has a systematic scheme, where Microsoft wou ld maliciously take financial
14
           advantage of its employees, and will engage its multiple employees in employment
15

16         opportunities, while conspiring to claim and then profit from an emplo yee's patent, an act

17         that deprives the emplo yee from ri ghts he or she is protected by in both the Thirteenth and

I8         Fo urteenth Amendments of the United State's Co nstitution .
19
     70.   An ordinary emp loyee can ' t afford hundreds of thousands of dollars in costs to protect his
20
           right through liti gation, and he or she can't afford to abandon his patent work because that
21
           wo uld be tota l destruction of hi s personal property . Rath er, he would find him or herself in
22

23         an unknowing and surprising trap of financial and property submittal to Defendant to share

24         the fruit of his labor that he would never offer free of cost willingly; this equates to

25         invo lun tary servitude under Thirteenth Amendments . And Microsoft is violating the
26


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         Fourteenth Amendment ri ght by tran ferring emp loyee patent right without due process of

 2       law. Microsoft doesn 't offer any additional compensation for transferring such patent right.
 3       Microsoft violation is continuing vio lation. Because of Microsoft violation, Plaintiff was
 4
         deprived of enjoyment of his patent ri ght, Plaintiff couldn ' t use hi s labor time and efforts for
 5
         his intended purpose that he rendered for himself.
 6
     71. Microsoft conducts a few billion dollars of business with both the federal and local
 7

 8       governments every year.

 9 72. On January 30, 2009, in an email to Cnet ews in respondin g to Microsoft v Miki lawsuit,

10       where Microsoft asserted Miki didn ' t disclose hi s patent to Microsoft before employment,
11
         Miki Mullor aid that he had informed Microsoft about his patent in hi s resume and
12
         employment agreement. Miki backed hi s statement, and thi s shows Microsoft assertion in
13
         M&G letter that Khalid didn ' t disclose his inventions is not the first of such statements from
14
         Microsoft that show either irreparable and costly neglect in Microsoft's applicant/new
15

16       emp loyee document bookkeeping, or show a blatant cover-up of a conspiracy to steal

17       intell ectual property and labor time from their employees . .
18 73. On January 30, 2009, Miki Mullor further wrote to Cnet, "Microsoft's complaint against me
19
         in Washington is a shameful and a desperate attempt to put pressure on me and my family
20
         from continui ng to pursue our legal rights in the federal court in Los       nge les" . Miki 's fi led
21
         patent infringement lawsuit against Microsoft partner Dell , HP and Toshiba in Federal Court
22

23       in Los Angeles.

24 74. Microsoft maintained its pressure scheme on Miki Mu ll or until the end of 2009 when Miki

25       settled with Micro oft on the patent is ue under undisclo ed term s. Microsoft. by using its
26


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             M&G letter in 2016, tried to achieve a similar res ult where Microsoft partner Citrix System

 2           tried to use th is same Microsoft asse1tion written in that letter to hurt Kha lid 's damages
 ,.,
 .)
             c la im s aga inst Citri x and w in o n an argument that either Microsoft o r C itri x owns 2 19 and
 4
             63 7 patents.
 5

 6
                                                    Class Certification
 7

 8 75.       Tho usands of emp loyees signed Empl oyee Agreement w ith M icrosoft where those contracts

 9           transferred valuabl e employee rights to Mi crosoft viol ating local and fe deral law. T hose

10           employees' rights had had been injured and they together form a class.
11
       76.   Me mbers in the class wo uld have one or more of the foll owing attributes a) they have signed
12
             empl oyee agreement with Mi crosoft b) T he ag reement was a fo rm agreement with an
13
             ambi guo us and over broad patent assignment provision that wo uld transfer patent ri ght upon
14
             signing c) member wo uld sign the employee ag reement at a date earli er than their job start
15

16           date, however does n' t receive salary fro m the signing date d) Member was either told or

17           understood that they must sign the empl oyee agreement as a co nditio n to their job.

18 77. Class members had been either seriously exposed to, or had been damaged by the wron gful

19
             patent grabbi ng scheme ex pl ained earlier. Such scheme inj ured the class member's
20
             constituti onal rights and other fo rm s of ri ghts prov ided by local, state and/o r common law.
21
       78.   Damages of the c lass members are more than $5 million, and there are mo re than 100 class
22

23           members who signed Empl oyee Agreement with Microsoft.

24 79.       Pl ainti ff Khali d has been personall y injured and want to represent the w ho le class if certified.

25                                                        Damages
26


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     80.   The plaintiffs suffered damages caused and proximately caused by the actions of the

 2         Defendant as set fort h below.

 3

 4
                                            III.   VIOLATION ALLEGED
 5

 6
              (Count I - Microsoft Violated WA Consumer Protection Act under RCW
 7

 8             19.86.020)

 9 81.     Plaintiff hereby incorporates paragraphs l through 80.

10 82.     Microsoft 's use the Empl oyee Agree ment and Microsoft ' s practice to c laim an employee's
11
           patent is an unfair and decepti ve practice under RCW 19.86 .020 .
12
     83.   Microsoft practice to destroy, conceal or withhold employee invention disclosure to
13
           intimidate or extor1 an emp loyee to gain access to an emp loyee 's patent is an unfair method
14

15         of doing business, it is both an unfair and a deceptive practice.

16 84.     Microsoft claimed rights to Khalid's patents as a free license where Microsoft didn't invest

17         a penny, however Khalid invested thousands of both time and dollars of hi s own ; Microsoft's

18         practice is unfair.
19
     85 . Microsoft claimed inventive serv ice from Khalid from Dec 19, 20 11 , using the Emp loyee
20
           Agreement employee agreement, however, Microsoft started paying Khalid from January-9,
21
           2012. The practice is unfai r.
22

23 86.     Microsoft's practice to claim an employee 's invention from a date earlier than the

24         employee 's actual paid start date at the workplace, a salary pay start date     after a claim to

25

26


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           an employee 's invention is an unfair method of doing business and/or both an unfair and

 2         deceptive practice.
 3
     87. Microsoft's violation of Washington statute and federal statute of record keeping of
 4
           employee documents, and infringements on constitutional ri ghts is an unfair practice.
 5
     88 . There exists a public interest embedded in patent rights. Abu ing patent ri ghts is injurious
 6
           to the public. Also, because Microsoft uses the same employee agreement with many
 7

 8         empl oyees, tho e employees have been damaged or exposed to Microsoft 's unfair practices

 9         that can and likel y have damaged those many employees the same way it has damaged the
10         Plaintiff.
11
     89.   Section 5 and section 6 of the Microsoft Emp loyment Agreement grants free access to
12
           patents that RCW 49.44.140 protects. The provision also violates Washington State's public
13
           policy under RCW 49.44.140. The practice is an unfair and/or deceptive method of doing
14

15         business.

16 90.     Multiples of employees having this Employment Agreement with Microsoft means many

17         mi ght have been injured or mi ght be injured in the similar way Khalid has been injured.
18         Microsoft 's practice is injuri ous to the publi c.
19

20
                (Count II - Microsoft Violated WA Consumer Protection Act under RCW
21
                19.86.030)
22

23 91.     Pl ai ntiff hereby incorporates paragraphs 1 through 80 and paragraphs 82 through 90.

24 92. The Microsoft Employment Agreement is a contract. It is more restrictive than necessary

25         and a restraint of trade in Washington because Microsoft interpreted its contract in such a
26


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             way as that it owns or gets access to any employee's patent, that without such discretionary

 2           interpretation of their contract Microsoft would not legall y get to have or use that emp loyee 's
 3
             patent.
 4
     93.     Section 5 and section 6 of Microsoft's contract is overbroad and a restraint of trade.
 5
     94 . Defendant(s) claimed plaintiff patent on bad faith. An assertion of rights to inte llectual
 6
             property that i on bad faith and/or based on fraud is a restraint of trade.
 7
 8 95. Microsoft and employees form a comb ination force where the Microsoft force intimidates

 9           inventive employees to give up patent ri ghts; that is a restraint of trade under RCW

10           19.86.030.
11
     96. The Employment Agreement tied up together two separate agreement a) confidentiality
12
             agreement b) patent assignment agreement of future inventions. Plaintiff had to sign both as
13
             part of the Employment. This tying is anti-competitive and a restraint of trade because the
14
             ass ignment of future invention is ambi guous, overbroad, violat d local and federa l law.
15

16                        (Count Ill - Defendant Breached Employee Agreement with Plaintiff)

17

18 97.       Plaintiff hereby incorporates paragraphs 1 through 80.
19
     98.     Khalid submitted an exclusion list under section 6 of Employee Agreement. By claiming that
20
             Khalid didn' t submit exclusion and subsequently by claiming 2 19 patents and 637 patents
21
             Microsoft breach the Emp loyee Agreement.
22

23 99.       Microsoft promi sed Khalid with ex plicit term s that Microsoft wo uld not claim patent in the

24           exclusion li st or that meets section 5 criteria. Microsoft breached that promi se.

25

26


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              (Count IV - Defendant Breached a Duty of Good Faith and Fair Dealing Under

 2            Employee Co ntract)
 3

 4
     100. Plaintiff(s) hereby incorporates paragraphs 1 through 80.
 5
     10 l. The duty of good fa ith and fair dea ling ari ses when one party has di scretionary authority to
 6
          determine a future contract term. Here, Microsoft asked Plainti ff Khalid to submit a patent
 7

 8        exclusion list to his Microsoft recruiter. Upon receipt of the list, Microsoft acknowledged,

 9        Microsoft had fu ll contro l over how to preserve/control those records. Microsoft violated a

10        duty of good fa ith and fair dealin g by claiming that the exclu sio n li st Pl aintiff Khali d
11
          submitted didn't ex ist, this resulted in Microsoft clai ming an entitl ement     to get a royalty-
12
          free license to patent(s) listed in the mismanaged exclusion list.
13

14
                            (Co unt V - Microsoft Tortious Interference w ith Busin ess)
15

16
17 102. Plaintiff hereby incorporates paragraphs 1 through 80.

18 103. Microsoft caused unl awful business interference by cloudin g the tit le of patents 219 and 637

19
           in 20 I 5 when Khalid was trying to create an IP incubation and licensin g hi start-up.
20
     104. Microsoft caused unlawful business interfe rence where Khalid couldn ' t make progress on
21
           hi s intended business, this inability to make progress was as a direct res ult of Microsoft
22

23         unlawful claim to the named patent(s).

24

25                 (Count VI - Microsoft Committed Tort Impacting Full Damage Recovery )
26


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     105 . Plaintiff hereby incorporates paragraphs 1 throu gh 80.

 2 106. Microsoft issued M&G letter 2 weeks after Microsoft partner C itrix fil ed a counter suit

 3
            against Plaintiff(s) on the same patents. The M&G letter negatively impacted the full
 4
            recove ry of $27 million from Microsoft partner.
 5
     107. Microsoft added false information in M&G letter that Microsoft partner used to undermine
 6
            Khalid 's recovery of damage Khalid's litigation with Citrix. Microsoft action damaged
 7

 8          P laintiff(s).

 9

10                           (Count VII - Microsoft Violated WA Minimum Wage Act)
I1
     108.   Plaintiff hereby incorporates paragraphs 1 throu gh 80.
12
     109. Defendant Microsoft didn ' t pay wages and/or benefits for inventive services between the
13
            signing the Employment Agreement and the starting of the job, from December 19, 20 11 ,
14
            through January-8 , 2012, 21 days . Also, after termination, Microsoft delayed in process ing
15

16          and paying Plaintiff Khalid for two weeks of vacation pay. The delay ( 6) month delay, and

17          witho ut citing any reason. Microsoft violated Washington 's Minimum Age Act.

18              (Count VIII - Fraudulent Inducement to Co ntract)
19
     110. Plaintiff(s) hereby incorporates paragraphs 1 through 80.
20
     11 I. Microsoft told in writing that Plaintiff Kh alid can safely send exclu sion li st to hi s recruiter,
21
            upon that confirmation, Plaintiff Khalid signed the Employee Co ntract.
22

23 11 2. Later Microsoft denied Khalid ever submitted the exclusion list and demanded a royalty-free

24          license to Plaintiff Khalid 's patent(s). Had Microsoft told Khalid this at the begi nning, that

25          Microsoft was go ing to do what it did , Pl a inti ff Khalid would never have signed the contract
26


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          with Microsoft. Microsoft fraudulently induced Plaintiff Khalid into the Microsoft emp loyee

 2        contract.
 3
     113 . Because of the inducement, Khalid go in to contract that restricted Plaintiff(s) to recover
 4
          damages from Microsoft partners and incur damages in business.
 5
              (Count IX - Microsoft Inflicted Discomfort and Inconvenience by Interfering with
 6
              Plaintiff's Business Property Right)
 7

 8

 9 114. Plaintiff hereby incorporates paragraphs 1 through 80.

10 115 . Microsoft by making false claims in the M&G letter and with various Email communications

11
          clouded Plaintiff(s) patent til e and increa ed uncertainty on any business around those
12
          patents. Those false claims negatively affected the reputation of patent title.
13
     116. Defendant Microsoft intentionally interfered with plaintiff's business property right that
14

15        caused enormous inconvenience and di scomfo rt to plaintiff that is recoverable under

16        Cherberg v. Peoples Nat'! Bank, 564 P. 2d 11 37 - Was h: Supreme Co urt 1977 and common

17        law and related statute.
18

19
                      (Count X - Defendant Violated WA Racketeering Act through Extortion)
20
21
     117. Plaintiff hereby incorporates paragraphs 1 through 80.
22

23 118. Defendant Micro oft used overbroad emp loyee agreement. , It is ongo ing; the overbroad

24        Employee Agreement and uses of that overbroad Agreement by Microso ft eq uate to fraud

25        and extortion to claim employee patents.
26


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     119. Microsoft employed at least 3 employees (two recruiters who contacted Plaintiff Khalid

 2        initiall y, and Micro oft patent attorney Patri ck Evans) to conduct its pate nt grabbing scheme;
 3
          that is a vio lation under RCW 9A.82.060. Plaintiff had int raction with at least 3 people
 4
          employed by Microsoft in connection with extortion under RCW 9A.56.130. Plaintiff is
 5
          entitled to the remedy under RCW 9A.82 .1 00(4)(d).
 6
     120. Microsoft employed this patent grab bing scheme in at lea t 3 emp loyee agreements, at least
 7

 8        one of them is ongoing and open-ended.

 9 121. Microsoft lead the pattern of racketeering activities with its partners to grab employees patent

10        that s ignifi cantly benefi ted them or designed to benefit them.
11
     122 . Microsoft's practice related to emp loyee patents, patent exclusion li st, are unfair and
12
          deceptive a vio lation of RCW 19.86 .020. Part of Microsoft ' scheme was done over email ,
13
          this co nstitutes emai l fraud.
14

15

16            (Co unt XI - Declaratory Relief that Microsoft Does Not Own th e 219 and the 637

17            Patent)

18 123 . P laintiff(s) hereby incorporates paragraphs 1 through 80.

19
     124. The Microsoft Emp lo yment Agreement, a contract, is not enforcea bl e to Plaintiff's2 19 and
20
          63 7 patents.
21
     125. M icrosoft does not own Plainti ff's 2 19 and 637 patents.
22

23 126. Microsoft does not have any right to Plainti ff's 219 and 637 patents.

24            (Co unt XII - Violated Interest of Class Memb ers Ri ght)

25

26


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     127. Plainti ff hereby incorporates parag raph s I th ro ugh 80.

 2 128. All of the employees           who have signed an Emp loyee Agreement wit h Defendant ' s, as
 3
           described and incorporated here within, are to gether as a class fo r the purpo se of class action.
 4
     129. Microsoft doesn' t pay wages fro m the signing date of the Empl oyee Agreement, yet uses
 5
           inventing services fro m the signing date of the Employee Agreement.
 6
     130. Microsoft reta ins ri ght to any future invention of an employee in the fo rm of first ri ght of
 7

 8         refu sal that depl etes the value of employee's future invention(s).

 9 131. Microsoft's use of ambi guo us prov isio ns in an empl oyee agreement is a violati on of the

10         notice provisio n of the due process of law affo rded as a ri ght under the Fourteenth
11
           Amendment of the United State ' s Constituti on, violations of just compensati on. Microsoft's
12
           attempt to co ntaminate empl oyee ' s inventions is an attempt to get free labor that the
13
           empl oyee wo ul d never render free ly to Microsoft, there being is a v io latio n of Invo luntary
14
           Servitude under T hirteenth Amendments.
15

16 132. Microsoft 's Employee Agreement(s) of such described, vio lated the Sherman Act and the

17         Rac ketee ri ng   ct injuring empl oyees ' ri ghts.

18 133. Mi crosoft infli cted moral injury to the clas members by us ing the ir intell ectual property for

19
          offshore tax engi neering scheme and not di sclosi ng that to employees.
20
     134. C lass certification is needed to recover damages sustained by class membe rs.
21

22

23             (Co unt XIII - Reservin g Right to Add            ew Claim or Amending Claims)

24

25 135. Pl ainti ff(s) hereby in co rporates paragraphs I thro ugh 80.

26


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        136. Plaintiffs(s) are reserving the right to add new cla ims and/or to amend any claims in this

   2          complaint as the law permits.
   3

   4
                                              IV.    REQUESTED RELIEF
   5

   6
          WH EREFORE, plaintiffs pray for reli ef as fo ll ows:
   7

   8 137. Certify thi s action for Class Action          under Washi ng Co urt Ru le C R 23 so that other

   9          emplo yees affected by the Defendant(s)'s behav ior can j oin thi s laws uit and recover damages

10            along with Plaintiff for the requested relief.
11
        138. C ivil remedi es under RCW 19.86. 090 and RC W 9A. 82. I 00(4)(d) including treb le damage,
12
             cost, and fees.
13
        139. Damages for fraud or attempted fraud in the amo unt of actual or probable loss.
14
        140 . Damages for back pay, front pay , lost benefit s, in an amo unt to be proven at trial.
15

16 14 I. Damages for loss of patents, and damages for loss of profit in businesses in an amount to be

17           proven at trial. Damages to Startup Company in an amo unt to be proven at tri a l.

18 142. Damages for emotional distress, loss of enj oyment of life, humiliation.

19
        143. perso nal indi gnity, embarrassment, fear , anx iety, and/or angui sh.
20
        144. Injunctive reli ef and declaratory judgment in Plaintiff's favor .
21
        145. Prejudgment interest in an amount to be proven at trial.
22
__,"'
?       146. Doubl e Damage under RCW 49.52.070 fo r wage violation including costs and fees.

24 147 . Co mpensati on for the tax penalty assoc iated with any recovery.

25

26


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     148 . Costs and legal fee pursuant to RCW 59.18 , RCW 49.48 .030, and RCW 4.84 or other rules

 2         of law and/or equity.
 3
     149. Civil penalty under RCWl 9.86.140.
 4
     150. Plaintiff is also looking for protection under the whistl eb lower laws and/or similar laws so
 5
           that Defendant(s) can ' t harass Plaintiff; Plaintiff has a right to the wh ist leb lowing protections
 6
           and other protections available by law when he notifies various multiple agencies to
 7

 8         investigate systematic unlawful vio lati ons by Microsoft.

 9 151. Penalty for inconvenience and discomfort a au thori zed und r Cherberg v. Peoples                    at' l
10         Bank, 564 P. 2d 1137 - Wash: Supreme Co urt 1977.
11
     152. Whatever further and additional relief the court shall deem just and equitable.
12

13
                                            V.      DEMAND FOR JURY
14

15     Plaintiff(s) hereby demands that this case is tri ed before TWELVE jury.
16

17
      SIGNED and DATED this _2_8_th_             day of January 29, 20 19.
18

19

20    Plai ntiff Pro Se
      ATM Shafiqul Khal id
21    17446 E 28 th ST
      Redmond , WA 98052
22
      (425) 44 5 7157
23    atmkhalid@gmail .com

24

25

26


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 EXHIBIT B
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 2                                                KING COUNTY
                                             SUPERIOR COURT CLERK
 3                                                   E-FILED
                                             CASE #: 19-2-02755-0 SEA
 4

 5

 6                     IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                        COUNTY OF KING
 7

 8    ATM SHAFIQUL KHALID, an individual and                 No. 19-2-02755-0 SEA
      on behalf of similarly situated, Xencare
 9    Software, Inc.
10                                               Plaintiff(s), PLAINTIFF KHALID’S SECOND
                                                               AMENDED COMPLAINT
11          vs.
12    MICROSOFT CORPORATION,
13    a Washington Corporation,
      One Redmond Way, Redmond, Washington
14
                                             Defendant(s).
15

16                 COMES NOW the plaintiff, ATM Shafiqul Khalid (“Khalid”), and Xencare Software,

17    Inc. (“Xencare”) together referred as “Plaintiff” or “Plaintiffs” for a cause of action against
18    Defendant Microsoft Corporation, (“Microsoft”), as “Defendant(s)”, state and allege as follows:
19
                                        I.     JURISDICTION AND VENUE
20
     1.           The plaintiff, ATM Shafiqul Khalid (hereinafter referred to as “Plaintiff” and by his last
21
      name “Khalid”), is a citizen of King County, Washington.
22

23 2.             The defendant, Microsoft Corporation, (hereinafter referred to as “Microsoft” or

24    “Defendant(s)”), is a Washington corporation doing business in Washington. Microsoft has its

25

26

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 1    physical office to conduct business in King County, Washington, where Plaintiff worked for

 2    three (3) years during 2012-2015 and for 8 years during 1998-2006.
 3
     3.        This court has jurisdiction over the subject matter and personal jurisdiction over the
 4
      Defendant pursuant to RCW 4.28.185(1)(a)-(c) and because the Employee Agreement was
 5
      entered into in Washington state.
 6
     4.        Venue is proper pursuant to RCW 4.12.020, RCW 4.12.025 as most of the events giving
 7

 8    rise to the complaint occurred in King County, Washington.

 9 5.          All the claims rise from a) dispute over written contract with a six (6) year of statuary
10    limitation pursuant to RCW 4.16.040(1), and b) violation of Washington Consumer Protection
11
      ACT that has a four (4) year statuary limitation pursuant to RCW 19.86.120.
12
                                                 II.     FACTS
13
                                                  Background
14

15 6.          Microsoft Corporation (commonly referred to as Microsoft) is an American multinational

16    technology company headquartered in Redmond, Washington, that develops, manufactures,

17    licenses, supports and sells computer software, consumer electronics and personal computers
18    and services. In 2018, Microsoft reported $110 billion revenue 134,000 employees worldwide
19
      with around 47,000 employees in Washington alone. Its best-known software products are the
20
      Microsoft Windows line of operating systems, Microsoft Office suite, and Internet Explorer web
21
      browser. Its flagship hardware products are the Xbox game consoles and the Microsoft Surface
22

23    tablet lineup. It is the world's largest software maker measured by revenues. It is also one of the

24    world's most valuable companies. Microsoft was founded by Bill Gates and Paul Allen on April

25    4, 1975, to develop and sell BASIC interpreters for Altair 8800. It rose to dominate the personal
26

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 1    computer operating system market with MS-DOS in the mid-1980s, followed by Microsoft

 2    Windows. Microsoft also conducts a patent licensing business through Microsoft Technology
 3
      Licensing, LLC.
 4
     7.        Plaintiff Khalid is a very creative engineer. Before joining Microsoft, Plaintiff published
 5
      14 research papers in journal and conference proceedings. Plaintiff had been named inventor in
 6
      20 patents issued by United States Patent and Trademark Office (“USPTO”), and European
 7

 8    Patent Office (“EPO”). To exercise his creativity and intellectual capacity, Plaintiff has always

 9    maintained his own creative projects in various areas. Plaintiff is an expert in the area of
10    Computer software, Operating Systems, Cloud and virtualization with 20+ years of experience.
11
     8.        On December 16, 2011, Microsoft offered ATM Shafiqul Khalid a job as Senior Program
12
      Manager in Microsoft Bing division. Microsoft recruiter Shannon Carlsen asked Khalid to sign
13
      a Microsoft Corporation Employee Agreement (“Employee Agreement”). Before signing the
14

15    Employee Agreement, Khalid wanted to attach an Invention Disclosure list under section 6 of

16    the Microsoft Employee Agreement, but there was not a way to attach such a list online. The

17    Microsoft employee agreement had a line "If you wish to attach a list of inventions, per paragraph
18    6, below, please contact your recruiter.” Khalid contacted Shannon Carlsen as required by the
19
      agreement.
20
     9.        Microsoft Employee Agreement section 5 contained, “as to any Invention complying
21
      with 5(a)-(c) above that results in any product, service or development with potential commercial
22

23    application, MICROSOFT shall be given the right of first refusal to obtain exclusive rights to

24    the Invention and such product, service or development.” The invention referenced here was an

25    invention solely owned by employee Khalid and his startup.
26

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 1 10.        Section 6 of this employee agreement contained, “I have attached a list describing all

 2    Inventions belonging to me and made by me prior to my employment with MICROSOFT that I
 3
      wish to have excluded from this Agreement. If no such list is attached, I represent that there are
 4
      no such Inventions.”
 5
     11.      On December 19, 2011, Khalid sent an email to Shannon Carlsen attaching an Invention
 6
      disclosure list per instruction from Shannon. Khalid signed the Employee Agreement. Later
 7

 8    Shannon Carlsen acknowledged that she had received the invention disclosure list as attachment.

 9    Shannon copied that email to recruiting coordinator Ricardo Bustamante. Khalid was given no
10    further instructions on this invention disclosure list.
11
     12.      On January 9, 2012, Khalid participated in a Microsoft employee orientation program
12
      where Khalid was required to sign a hard copy of the employee agreement using INK. Khalid
13
      again submitted an Invention disclosure list and left a hand-written note on the Employee
14

15    Agreement to show there were additional pages.

16 13.        The invention disclosure list Khalid submitted on December 19, 2011, had nine (9)

17    patentable items with short descriptions of each invention. Khalid also marked a few items as
18    pending patent applications with United States Patent and Trademark Office.
19
     14.      On July 15, 2014, the United States Patent and Trademark Office issued US patent
20
      8,782,637 (hereinafter referred to as “mini-cloud patent”) that Khalid listed in the Invention
21
      Disclosure document on December19, 2011.
22

23 15.        As part of Microsoft job application Khalid submitted a resume. The resume had an

24    embedded link on pending patents in its summary section. The list would have shown the

25    publication of the mini-cloud patent application on December 12, 2011.
26

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 1
     16.     After signing the Microsoft employee agreement on December 19, 2011, Plaintiff worked
 2
      for Microsoft from January 9, 2011, until February 2, 2015, at Microsoft’s offices in Bellevue
 3

 4    and Redmond, Washington. Plaintiff also worked for Microsoft during the years of 1998-2006.

 5    Between December 19, 2011, and January 9, 2012, Khalid had to participate in a background

 6    check including filling out forms, reviewing materials relevant to the Microsoft role and chatting
 7    with the Microsoft hiring manager on job related matters to warm-up for the role. Disregarding
 8
      the dates, Microsoft claimed inventive service from December 19, 2011, under the Employee
 9
      Agreement.
10
     17.     On May 27, 2016, as explained in more details later, Microsoft notified Khalid through
11

12    its external counsel that no exclusion list existed, Microsoft claimed rights to patents Khalid had

13    listed in the disclosure list, and that Khalid needed to give Microsoft a royalty free license to

14    clear the patent dispute.
15
     18.     Microsoft has approximately an 88% market share in desktop operating system.
16
      Microsoft has approximately an 88% market share in the office productivity suit market such as
17
      Microsoft Office suites that often are delivered as cloud services through programs including
18
      Office365. Microsoft also has a significant market share in the Gaming space.
19

20                                              Development of

21                                8,286,219, 8,782,637 and 10,846,118 Patents
22 19.       While in graduate school, during 1996-1997 Plaintiff invented the idea for a subscription
23
      that would allow a user to consume software without driving to the store to buy it. During 1997,
24
      Plaintiff did some work on this subscription idea in a very rudimentary form. Plaintiff continued
25

26

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 1    his work for years through 2010 when the idea evolved and transformed into mini-cloud

 2    subscription that would allow a user to consume computing resources and content on demand,
 3
      integrating parts of the subscription idea Plaintiff had in 1996. Plaintiff had one patent
 4
      application filed in 2001 for software subscription and another in 2007 to cover content
 5
      subscription including digital movies. The idea evolved to form cloud computing for residential
 6
      users using mini-cloud host and thin terminals. The US Patent office issued patent 8,782,637
 7

 8    (the “’637 patent”) in 2014. Plaintiff had a total of 30 ideas in the form of patent applications or

 9    in the development stage. To date, in spite of any adverse situation, Plaintiff has continued
10    adding his labor to refine and prosecute patent applications through US patent office building on
11
      those ideas.
12
     20.     The mini-cloud ’637 patent comprises several components: a) thin terminal something
13
      like Roku stick that can stick to any monitor then connect to b) subscription provider in the cloud
14

15    and c) connect to a mini-cloud host device to deliver computing resources with specific

16    integration techniques outlined in the patent. Microsoft Xbox One uses all components of 637

17    patents or mini-cloud invention. The invention is expected to reduce consumer cloud
18    subscription cost by device consolidation.
19
     21.     Around 2005, Plaintiff, while working with his friends and partner, made an invention to
20
      protect computer systems from viruses and spyware. Plaintiff filed a patent application in 2005
21
      titled “SAFE AND SECURE PROGRAM EXECUTION FRAMEWORK.” The application
22

23    expired in 2006.

24 22.       On February 16, 2008, after months of efforts to commercialize the subject matter of the

25    expired patent application on security, and after some validation and improvement with a “single
26

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 1    system framework,” Plaintiff’s startup team filed the 2005 patent application with the improved

 2    version titled “SAFE AND SECURE PROGRAM EXECUTION FRAMEWORK” with
 3
      application number 12/032,663.
 4
     23.     On October 9, 2012, the US patent office issued Patent 8,286,219 (the “’219 Patent”) for
 5
      the application number 12/032,663.
 6
     24.     On November 24, 2020, the US patent office issued Patent 10,846,188 (the “’118
 7

 8    Patent”), a continuation of the ’637 Patent, for application number 15/391,819.

 9 25.       All those years, Khalid recruited a team of engineers to incubate and productize both
10    security and mini-cloud technologies. Khalid and his team of around 20 people invested more
11
      than 30,000 engineering hours over the years with the equivalent of at least $3.5 million
12
      investment in the value of the labor. Khalid and his counsel also recently spent $2 million to
13
      clear claims which one of Microsoft’s partners made on the ’219 and the ’637 patent.
14

15 26.       Defendant’s mini-cloud patent was developed to host and deliver any digital services

16    through cheap terminals in a cost-effective way that makes the cloud services affordable to an

17    ordinary residential user. And the security patent was developed to protect the host like systems.
18 27.       Khalid founded Xencare Software, Inc., and owns a majority share in Xencare. Xencare
19
      delegated certain rights to Khalid.
20
                              Micro-Data Center Incubation IP Licensing Efforts
21
     28.     By the year 2014, thin devices with a form factor similar to the “mini-cloud thin terminal”
22

23    were developed by various companies including Roku, Amazon FireTV stick, etc. Those devices

24    are so popular that today more than half of US households use one of those devices. Plaintiff

25    decided to incubate further ideas using the mini-cloud host component with a business model
26

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 1    called Micro-Data Center that can work as a single device or form a mega data center distributed

 2    inside a City. Plaintiff was planning to form an IP licensing business and incubator to further
 3
      develop these ideas.
 4
     29.     On or around February 12, 2013, Plaintiff also had a discussion with Microsoft Vice
 5
      President VP Amit Mittal on the mini-cloud invention. Amit later told Khalid that he had a
 6
      discussion within Microsoft and wouldn’t pursue the idea.
 7

 8 30.       In March 2014, Plaintiff had a meeting with Microsoft Executive Vice President (EVP)

 9    Kirill Tatarinov reporting to Microsoft CEO Satya Nadella. Plaintiff discussed the mini-cloud
10    invention in detail. Kirill advised Khalid to talk to Stephen Elop who was planning to join
11
      Microsoft as part of Microsoft Nokia acquisition. Stephen Elop was designated to head a
12
      Microsoft device division that included Xbox One.
13
     31.     On June 30, 2014, Plaintiff sent an email to Stephen Elop, Microsoft EVP reporting to
14

15    Satya Nadella, Microsoft CEO. The email included Satya Nadella, Brad Smith, Microsoft

16    General Counsel, and a few executives. In the email, Plaintiff proposed a business model based

17    on the mini-cloud invention. On July 1, 2014, Stephen Elop declined Khalid’s proposal.
18 32.       In 2015, after being terminated by Microsoft, Plaintiff put in effort to incubate and form
19
      a business, or license developed technologies to others. Plaintiff shared his proposal with
20
      Microsoft as well. Plaintiff needed funds from investors to pursue this business model.
21
     33.     Plaintiff discussed part of software subscription with Bob Rinne, Khalid’s manager at
22

23    Microsoft, around the year 2000. Microsoft declined Plaintiff’s idea.

24 34.       After leaving Microsoft on February 2, 2015, Plaintiff was trying to accumulate resources

25    to form an IP licensing and/or incubation business. Khalid had around 30 inventions in the
26

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 1    pipeline to protect the micro-data center space to solve consumer problems in a market

 2    generating about $70 billion/year. Khalid wrote a proposal and shared the proposal with
 3
      Microsoft as well.
 4
     35.     Plaintiff planned to g license his patent to a party in an attempt to build his patent portfolio
 5
      and move onto incubation. When parties learned that Microsoft demanded a free license to the
 6
      present and future patent family, investors were deterred from investing making it impossible
 7

 8    for Khalid to financially support work on his 30-patent portfolio and micro-data center ideas.

 9                                Microsoft Claims Khalid’s Patents in 2015
10 36.       On February 19, 2015, Patrick Evans, Microsoft inhouse patent attorney wrote to Khalid
11
      noting that “[a]s per the Microsoft Corporation Employee Agreement you executed on December
12
      19, 2011, Section 5 sets forth your obligations to assign intellectual property to Microsoft.
13
      Section 6 addresses inventions to be excluded, and no inventions were listed by you for
14

15    exclusion.” On the same date Khalid notified Patrick that Khalid had submitted an exclusion list.

16 37.       On March 3, 2015, Patrick Evan wrote to Khalid that “...[a]s per the employment

17    agreement, Microsoft retains an assignment right in the patents. Please let me know if you need
18    anything more” referring to US patent 8,782,637 and 8,286,219, sending a link to a form
19
      http://www.uspto.gov/forms/pto1595.pdf.” This form is used to transfer patent title and right
20
      from one party to another. In this case, Patrick wanted Khalid to transfer his patent right to
21
      Microsoft.
22

23 38.       On March 13, 2015, Khalid told Patrick Evan that Khalid submitted a copy of his original

24    2011 invention disclosure list.

25

26

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 1 39.       On April 14, 2015, Khalid requested Patrick check the hand-signed (using INK)

 2    employee agreement that Khalid signed on January 9, 2012. Khalid also requested a copy of the
 3
      hand-signed employee agreement be sent to him. On April 16, 2015, Khalid reiterated his request
 4
      for Shannon Flynn to have a copy of the INK signed Employee document sent to him. On April
 5
      27, 2015, Khalid notified Patrick that Khalid had not received the INK signed copy of the 2012
 6
      Employee Agreement.
 7

 8 40.       In 2015, Khalid provided Microsoft with a copy of the acknowledgment email Microsoft

 9    sent to Khalid in 2011 showing Microsoft received Khalid’s Patent disclosure list. Microsoft
10    knew Khalid’s patent was published before Khalid joined Microsoft. Microsoft did not do
11
      anything to verify if Khalid’s email record was authentic. Microsoft didn’t preserve the
12
      recruiter’s email but asked its employees to send an exclusion list to the recruiter. Microsoft by
13
      mistake or otherwise, deleted the recruiter's email box and later claimed the employee did not
14

15    submit patent disclosure, then subsequently claimed ownership of the employee patent.

16 41.       On June 15, 2015, Khalid notified Patrick viaemail that Microsoft Xbox One is infringing

17    on Khalid’s mini-cloud patent US 8,782,637, and asked Patrick if there was any other way to
18    resolve the dispute.
19
     42.     On June 22, 2015, Khalid told Patrick via email that Khalid will give one security patent
20
      to Microsoft if Microsoft pay the build out cost for that patent. Khalid also told Patrick that
21
      Khalid will give license to Microsoft for mini-cloud patent if Microsoft is willing to pay a
22

23    reasonable royalty fee. Patrick declined that offer.

24 43.       On July 9, 2015, Patrick told Khalid that Patrick will put together an agreement if Khalid

25    will agree to give Microsoft royalty free access to all present and future patents related to Mini-
26

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 1    cloud systems, which would now include the ’118 Patent, in exchange for resolving all disputes.

 2    Khalid found this offer to be very unfair, anti-competitive, and thus Khalid declined this “resolve
 3
      offer” given by Patrick.
 4
     44.     In July 2015, Patrick also clarified that Microsoft’s claim would extend to the mini-cloud
 5
      patent family including past, present, and future patents that indirectly claim the other patents in
 6
      the Invention Disclosure document.
 7

 8 45.       On August 29, 2015, Khalid told Patrick and Shannon that Microsoft’s claim to

 9    inventions is interfering with his ability to refile many patent applications related to the patent
10    family listed in the Invention Disclosure. Microsoft did not respond to release its claim.
11
     46.     On May 27, 2016, Khalid received a letter (“M&G letter”) from Microsoft outside
12
      counsel Andrew T. Pouzeshi at Merchant & Gold. The letter said, “[y]ou also agreed to provide
13
      a list identifying all inventions made by you or belonging to you prior to your employment with
14

15    Microsoft. There is no evidence that you provided a list of inventions prior to either period of

16    employment…your failure to exclude inventions described in the ‘219 and ‘637 patents resulted

17    in a grant of an exclusive, royalty-free, irrevocable, worldwide license to those inventions to
18    Microsoft.” Through the external counsel, for the first time in a signed letter, Microsoft officially
19
      denied that Khalid had ever provided a list of inventions made by him or belonging to him.
20
     47.     Microsoft asserted Citrix Systems, Inc was a Microsoft vendor. Microsoft also said, “[i]t
21
      is Microsoft’s standard practice when entering into contract with vendors that Microsoft owns
22

23    all of the intellectual property produced by the vendor and the vendor employees.” Upon receipt

24    of the M&G letter Khalid demanded Microsoft to send him a copy of the Vendor Agreement but

25    Microsoft refused to share a copy with Khalid. On information or belief, the Microsoft/Citrix
26

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 1    licensing agreement alleged to cover any intellectual property Khalid produced while an

 2    employee of Citrix either does not exist or was entered into for the express purpose of requiring
 3
      Khalid to grant Microsoft a royalty free license as a condition of any settlement with Citrix.
 4
           In the M&G letter, Microsoft also told Plaintiff that until Khalid granted a royalty free license
 5
      to Microsoft to the ’637 and the ’219 patent, Khalid can’t tell his investors that Microsoft has no
 6
      interest in the patents.
 7

 8

 9                                   Microsoft Partner Citrix Systems, Inc.,
10                                        Claimed ’637 and ’219 Patents
11
     48.      On September 25, 2011, Citrix Systems, Inc.(“Citrix”) claimed underlying patent
12
      application resulting in the ’219 and the ’637 patents and withheld Plaintiff’s severance until
13
      Khalid assigned the patent application to Citrix.
14

15 49.        On October 2, 2015, Khalid filed a suit against Citrix Systems, Inc.(“Citrix”) in King

16    County Superior Court to clear cloud on title to the ’219 patent and the ’637 patent. Citrix is a

17    Microsoft business partner and vendor. Citrix chose to dispute Khalid’s ownership to the ’219
18    and the ’637 patents since the year 2011 by claiming Khalid didn’t disclose his patent work and
19
      Citrix should have the right to Khalid patent under the employment contract Khalid had signed
20
      with Citrix. Citrix did not prevail on their assertion. Citrix counter sued Khalid and Xencare on
21
      May 12, 2016 in federal courts claiming the ’219 and the ’637 patents.
22

23 50.        During the state court trial, around 2017, Citrix Systems claimed Microsoft was their

24    partner and Citrix delayed the state court case to do additional discovery relying on the Microsoft

25    M&G letter. Those delays resulted in increased cost and loss of time to Khalid.
26

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 1 51.       In 2017, Citrix sent a discovery request to Microsoft as part of the state court proceedings.

 2    Microsoft produced the 2011 Microsoft Employee Agreement without the exclusion list Khalid
 3
      submitted to Microsoft on December 19, 2011.
 4
     52.     During the trial in July of 2018, Citrix chief architect Brad Petersen testified and
 5
      suggested that Citrix wanted to protect its partner and suggested that Khalid’s patent could have
 6
      been hostile to those partners. Brad also testified that Citrix never sold anti-virus products, an
 7

 8    area the ’219 patent targeted to solve. Brad also testified that Citrix didn’t sell any thin client

 9    products either. The ’637 patent included claims related to a thin terminal similar to a thin client.
10 53.       During the state court proceedings, around 2017, during communication with Khalid’s
11
      counsel, Citrix counsel said that Citrix has a common interest with Microsoft to ensure that a
12
      patent doesn’t get to patent troll. Citrix also testified that Citrix and Microsoft together held 70%
13
      market share in the virtual desktop space.
14

15 54.       On July 16 through 31, 2018, during the state court trial, Khalid’s experts, John Forbes

16    and Lorraine Barrick, testified that the value of the software security business and the thin

17    terminal business based on both the ’219 and the ’637 patent would have been worth around $27
18    million. Citrix showed the Microsoft M&G letter to the jury to undermine the damages
19
      testimony.
20
     55.     On August 1, 2018, in a unanimous verdict, 12 King County jurors found that Citrix
21
      breached its agreement, Khalid didn’t breach the same agreement by not assigning the ’219
22

23    patent and the ’637 patent to Citrix. Subsequently, King County Court Judge entered a $5.8

24    million judgment against Citrix that included a $3 million Jury award, and $2.8 million to cover

25

26

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 1    fees and costs. The Court also entered a declaratory judgment against Citrix that Citrix doesn’t

 2    have any right to either the ’219 or the ’637 patent. The cost of litigation exceeded $2.8 million.
 3
                     Market Size of Technology Covered by Patents and Infringement
 4
     56.     On or around July 21, 2017, Microsoft CEO Satya Nadella said in their financial
 5
      reporting, that “[o]ur gaming business now is more than $9 billion and growing profitably –
 6
      2017”. Considering Microsoft is not the only player, the overall market size is expected to total
 7

 8    at least $400 billion in business over 20 years. A nominal 1% royalty would set the infringement

 9    value at$4 billion that Microsoft sought to obtain wrongfully.
10 57.       Microsoft Xbox One product infringes on claims 1, 4, and 20 of US patent 8,782,637
11
      which is a violation of plaintiff’s exclusive right protected under 35 USC § 271. The
12
      infringement is a direct use of all of the components disclosed in the ’637 patent, or Xbox One
13
      use of components in an equivalent way that infringes on the ’637 patent. Microsoft’s
14

15    infringement is willful, and Microsoft sought to wrongfully claim the ’637 patent right to avoid

16    liability under infringement laws.

17                            Offshore Tax Engineering Scheme to Avoid Taxes
18 58.       In 2012, one US senate panel report stated that from 2009 to 2011, Microsoft shifted $21
19
      billion offshore, almost half of its U.S. retail sales revenue, saving up to $4.5 billion in taxes on
20
      goods sold in the United States. The report also stated the software giant shifts royalty revenue
21
      to units in low-tax nations, such as Singapore and Ireland, avoiding billions of dollars in U.S.
22

23    taxes. Those unfair practices impact consumers.

24 59.       In 2015, the New York Times and Bloomberg made reports based on leaked Panama

25    papers that corporations had been using intellectual property rights as a vehicle to transfer money
26

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 1    to offshore accounts to avoid income taxes in the form of tax engineering. In such a tax

 2    engineering scheme, corporations would transfer right to intellectual properties to an offshore
 3
      entity often without any employee and then make a generous royalty payment to such an offshore
 4
      account and enjoy low or no tax. Those leaked reports and public statements showed that
 5
      Microsoft and its partner moved billions of dollars offshore.
 6
     60.     By 2017, corporations have moved around $2.8 trillion dollars that should have been in
 7

 8    the USA and tax revenue from them could have funded many public projects. If corporations

 9    develop their intellectual properties through extortion, illegal, unfair and grossly unethical
10    practices, those tax engineering schemes would be unfair and illegal practices. Also, those
11
      corporations never disclosed to their employees that employees work towards intellectual
12
      properties would be used to further unfair tax engineering practices. With full disclosures,
13
      patriotic employees who are the actual owner of intellectual properties would not assign their
14

15    private right to corporations and not associate themselves with tax engineering schemes that

16    deprive our nation as a whole and their own families of the tax supported programs and places

17    of expectation for our tax dollars.
18 61.       Corporations used intellectual property to increase brand value/trademark and used the
19
      collection of intellectual property to make generous royalty payments to offshore accounts that
20
      held rights to intellectual property in order to receive royalty payments and to deceive the IRS
21
      and the US public.
22

23                             Microsoft Employee Patent Grabbing Scheme is

24                                          Injurious to Employees Rights

25

26

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 1 62.         Microsoft Agreement section 5 award Microsoft “first right of refusal” to any employee

 2    patent even if the patent is not related to Microsoft business and protected under RCW 49.44.140.
 3
      That section violates Washington Statute RCW 49.44.140 and similar statutes in other states.
 4
     63.       The “first right of refusal” has value greater than Zero (0) and an employee losses that
 5
      every day he remains under the contract. The right is in the form of an option, Microsoft can
 6
      choose to exercise that option at Zero(0) exercise price. The option is more like a mining right
 7

 8    to a piece of land owned by employee where the option has value even if it is unknown if that

 9    land has any mineable materials.
10 64.         The Microsoft Employee Agreement assigns right to an employee’s future inventions
11
      during his employment at the time he signs the Employee Agreement. The agreement doesn’t
12
      set any scope or boundary to such inventions. Microsoft does not have any inhouse objective
13
      standard, or review process, rather the company applies subjective financially motivated, anti-
14

15    competitive practices.

16 65.         Any right associated with a patent is a right protected by the Fourteenth Amendment of

17    the United States Constitution. By not defining a clear boundary, Microsoft deprives its
18    employees of due process of law. Microsoft contaminates employee’s future invention by
19
      creating cloud and uncertainty around the ownership, right, and title to invention upon signing
20
      the employee agreement. Microsoft drives the value of such inventions to Zero(0) or negative
21
      dollar by demanding a free license with the employee bearing all expenses to maintain the patent
22

23    family

24 66.         Microsoft, by claiming any of Plaintiff’s patent rights, claimed some services Plaintiff

25    rendered for himself and his start-up that Plaintiff would never render for any employer
26

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 1    voluntarily. Plaintiff’s service covered thousands of hours of work he contributed to his patents

 2    through development and prosecution of patents that by no means falls under the term of
 3
      Microsoft Employee Agreement.
 4
     67.     The Microsoft Employee Agreement, Section 5 and Section 6, are designed to get free
 5
      labor from employees and those employees would be working without knowing that Microsoft
 6
      would or could claim and benefit from this free labor.
 7

 8 68.       Microsoft’s use of the exclusion list under Section 6, either destroying the employee’s

 9    submitted list, as in this Khalid’s instant, and perhaps an unknown number of other employee’s,
10    or refusing to acknowledge its existence, as this situation has shown, is designed to contaminate
11
      an employee’s patent that effectively transfers free labor to Microsoft that the employee would
12
      never render to Microsoft voluntarily.
13
     69.     Once Microsoft successfully contaminates an employee’s patent, as in the instant case,
14

15    that employee would need tremendous financial resources to clear their patent right through

16    court. An ordinary employee can’t afford the time or the legal costs to pursue and challenge a

17    company on the legal court front, nor should anyone be forced to challenge such deception. In
18    the face of such deception, an ordinary employee is forced to unwillingly share his labor with
19
      Microsoft without compensation.
20
     70.     Microsoft asked Plaintiff to sign the Employment Agreement on December 19, 2011.
21
      Plaintiff started receiving a salary from Microsoft on January 9, 2012. Microsoft later claimed
22

23    the Employee Agreement was in force from December 19, 2011, not from January 9, 2012,

24    therefore the agreement transferred all inventive services to Microsoft from December 19, 2011.

25    Microsoft didn’t pay for 3 weeks of services, but claimed inventive service in an attempt to retain
26

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 1    free labor, first right of refusal to employee patent, and assignment right to invention for that 3

 2    weeks window.
 3
     71.     Microsoft has a systematic scheme, where Microsoft would maliciously take financial
 4
      advantage of its employees, and engage its multiple employees in employment opportunities,
 5
      while conspiring to claim and then profit from an employee’s patent--an act that deprives the
 6
      employee from rights he or she is protected by in both the Thirteenth and Fourteenth
 7

 8    Amendments of the United States’ Constitution.

 9 72.       An ordinary employee can’t afford hundreds of thousands of dollars in costs to protect
10    his right through litigation, and he or she can’t afford to abandon their patent work because that
11
      would be total destruction of their personal property. Rather, they would find him or herself in
12
      an unknowing and surprising trap of financial and property submittal. This equates to involuntary
13
      servitude under the Thirteenth Amendment. And Microsoft is violating the Fourteenth
14

15    Amendment right by transferring employee patent right without due process of law. Microsoft

16    doesn’t offer any additional compensation for transferring such patent right. Microsoft violation

17    is continuing violation. Because of Microsoft violation, Plaintiff was deprived of enjoyment of
18    his patent right, and Plaintiff couldn’t use his labor time and efforts for his intended purpose.
19
     73.     Microsoft conducts a few billion dollars of business with both the federal and local
20
      governments every year.
21
     74.     On January 30, 2009, in an email to Cnet News in responding to Microsoft v Miki lawsuit,
22

23    where Microsoft asserted Miki didn’t disclose his patent to Microsoft before employment, Miki

24    Mullor said that he had informed Microsoft about his patent in his resume and employment

25    agreement. Miki backed his statement, and this shows Microsoft assertion in M&G letter that
26

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 1    Khalid didn’t disclose his inventions is not the first of such statements from Microsoft that show

 2    either irreparable and costly neglect in Microsoft’s applicant/new employee document
 3
      bookkeeping, or show an intention to steal intellectual property and labor from their employees.
 4
     75.     On January 30, 2009, Miki Mullor further wrote to Cnet, “Microsoft's complaint against
 5
      me in Washington is a shameful and a desperate attempt to put pressure on me and my family
 6
      from continuing to pursue our legal rights in the federal court in Los Angeles.” Miki’s filed
 7

 8    patent infringement lawsuit against Microsoft partner Dell, HP and Toshiba in Federal Court in

 9    Los Angeles.
10 76.       Microsoft maintained its pressure scheme on Miki Mullor until the end of 2009 when
11
      Miki settled with Microsoft on the patent issue under undisclosed terms. Microsoft, by using its
12
      M&G letter in 2016, tried to achieve a similar result where Microsoft partner Citrix System tried
13
      to use this same Microsoft assertion written in that letter to harm Khalid’s damages claims
14

15    against Citrix and win on an argument that either Microsoft or Citrix owns the ’219 and the ’637

16    patents.

17                                                 Damages
18 77.       The plaintiffs suffered damages caused and proximately caused by the actions of the
19
      Defendant as set forth below.
20
                                       III.   VIOLATION ALLEGED
21
             (Count I - Microsoft Violated WA Consumer Protection Act under RCW
22

23           19.86.020)

24 78.       Plaintiff hereby incorporates paragraphs 1 through 77.

25

26

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 1 79.       Microsoft’s act of claiming ownership of employees’ patents free of cost when the

 2    employee developed such Patent before joining Microsoft and practice to destroy, conceal,
 3
      withhold, or deny employee invention disclosures to intimidate or extort an employee to gain
 4
      access to an employee’s patent is both an unfair and a deceptive practice under RCW 19.86.020.
 5
     80.     Microsoft’s actions related to the employment agreement occurred in trade or commerce.
 6
     81.     There exists a public interest embedded in patent rights. Abusing patent rights is injurious
 7

 8    to the public. Also, there is a public interest because Microsoft uses the same employee

 9    agreement, and employs the same practice to destroy, conceal, or withhold employee invention
10    disclosures with many employees, those employees have been damaged or exposed to
11
      Microsoft’s unfair practices that can and likely has damaged many employees in the same way
12
      it has damaged the Plaintiff.
13
                     (Count II – Defendant Breached Employee Agreement with Plaintiff)
14

15 82.       Plaintiff hereby incorporates paragraphs 1 through 77.

16 83.       Khalid submitted an exclusion list under section 6 of the Employee Agreement he entered

17    and performed with Microsoft. By claiming that Khalid didn’t submit the exclusion and
18    subsequently by claiming the ’219 patents, the ’637 and the ’118 patents Microsoft breach the
19
      Employee Agreement.
20
     84.     Microsoft promised Khalid with explicit terms that Microsoft would not claim patent in
21
      the exclusion list or that meets section 5 criteria. Microsoft breached that promise.
22

23           (Count III – Defendant Breached a Duty of Good Faith and Fair Dealing Under

24           Employee Contract)

25 85.       Plaintiff(s) hereby incorporates paragraphs 1 through 77.
26

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 1 86.        The duty of good faith and fair dealing arises when one party has discretionary authority

 2    to determine a future contract term. Here, Microsoft asked Plaintiff Khalid to submit a patent
 3
      exclusion list to his Microsoft recruiter. Upon receipt of the list, Microsoft acknowledged,
 4
      Microsoft had full control over how to preserve/control those records. Microsoft violated a duty
 5
      of good faith and fair dealing by claiming that the exclusion list Plaintiff Khalid submitted didn't
 6
      exist, this resulted in Microsoft claiming an entitlement to a royalty-free license to patent(s) listed
 7

 8    in the mismanaged exclusion list.

 9            (Count IV – Declaratory Relief that Microsoft Does Not Own the ’219, the ’637
10            and the ’118 Patents)
11
     87.      Plaintiff(s) hereby incorporates paragraphs 1 through 77.
12
     88.      The Microsoft Employment Agreement, a contract, is not enforceable to Plaintiff’s ’219,
13
      ’637, and ’118 patents.
14

15 89.        Microsoft does not own Plaintiff’s ’219,’637, and ’118 patents.

16 90.        Microsoft does not have any right to Plaintiff’s ’219, ’637 and ’118 patents.

17            (Count V – Declaratory and Injunctive Relief)
18 91.        Plaintiff(s) hereby incorporates paragraphs 1 through 77.
19
     92.      A declaration that Microsoft use of First Right of Refusal in section 5 of the Employee
20
      Contract is unenforceable in violation of RCW 49.44.140(1).
21
     93.      A declaration that Microsoft contract violated RCW 49.44.140(1), RCW 49.44.140(2)
22

23    and RCW 49.44.140(3).

24            (Count VI - Reserving Right to Add New Claim or Amending Claims)

25 94.        Plaintiff hereby incorporates paragraphs 1 through 80.
26

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 1 95.         Plaintiff reserved his right to add back claims in the First Amended Complaint not added

 2    in this complaint, including but not limited to claim related to RCW 19.86.030.
 3
     96.       Plaintiffs(s) are reserving the right to add new claims and/or to amend any claims in this
 4
      complaint as the law permits.
 5
                                         IV.     REQUESTED RELIEF
 6
      WHEREFORE, plaintiffs pray for relief as follows:
 7

 8 1.          Civil remedies under RCW 19.86.090 and RCW 9A.82.100(4)(d) including treble

 9    damage, cost, and fees.
10 2.          Damages to Plaintiff’s Career in term of lost salary and benefits from his startup.
11
      Damages to Plaintiff's Executive career in terms of executive pay and other benefits.
12
     3.        Damages for loss of patents, and damages for loss of profit in businesses in an amount to
13
      be proven at trial. Damages to Startup Company in an amount to be proven at trial.
14

15 4.          Damages for emotional distress, loss of enjoyment of life, humiliation, personal

16    indignity, embarrassment, fear, anxiety, and/or anguish.

17 5.          Injunctive relief and declaratory judgment in Plaintiff’s favor.
18 6.          Prejudgment interest in an amount to be proven at trial.
19
     7.        Compensation for the tax penalty associated with any recovery.
20
     8.        Costs and legal fees pursuant to RCW 59.18, RCW 49.48.030, RCW 49.52.070, RCW
21
      19.86.090 and RCW 4.84 or other rules of law and/or equity.
22

23 9.          Civil penalty under RCW19.86.140 and remedy under RCW 19.86.080, RCW 10.01.100

24    and RCW 9.92.030

25

26

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 1 10.        Protection under the whistleblower laws and/or similar laws so that Defendant(s) can’t

 2    harass Plaintiff.
 3
     11.      Penalty for inconvenience and discomfort as authorized under Cherberg v. Peoples Nat'l
 4
      Bank, 564 P. 2d 1137 - Wash: Supreme Court 1977.
 5
     12.      Whatever further and additional relief the court shall deem just and equitable.
 6
                                         V.      DEMAND FOR JURY
 7
      Plaintiff(s) hereby demands that this case is tried before TWELVE jurors.
 8

 9
      EXECUTED at Seattle, Washington on this 20th day of November 2023
10

11

12                                            Mark P. Walters

13                                            LOWE GRAHAM JONES PLLC
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17                                            T: 206.381.3300
                                              F: 206.381.3301
18
                                              Attorneys for Plaintiff
19

20

21
                                          CERTIFICATE OF SERVICE
22

23            I, Rischel Voigt, hereby certify under penalty of perjury of the laws of the State of

24    Washington that on November 20, 2023, I caused to be served a copy of the foregoing

25

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 1   document was filed electronically with the Clerk of the Court using the CM/ECF system.

 2   Notice of this filing will be sent to all counsel of record via the court’s electronic filing system.
 3                                                                 /s/Rischel Voigt
 4                                                                 Rischel Voigt, Paralegal

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      SECOND AMENDED COMPLAINT
      KHALID v MICROSOFT
      Page 24 of 24
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 62 of 103




 EXHIBIT C
            Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 63 of 103




 1                                                             THE HONORABLE SANDRA WIDLAN
                                                                          Trial Date: May 20, 2024
 2

 3

 4

 5

 6
                                  SUPERIOR COURT OF WASHINGTON
 7                                       FOR KING COUNTY

 8 ATM SHAFIQUL, KHALID, an individual and )                 No. 19-2-02755-0 SEA
   on behalf of similarly situated, Xencare )
 9 Software, Inc.;                          )
                                            )                JOINT CONFIRMATION REGARDING
10                 Plaintiff(s),            )                TRIAL READINESS
                                            )
11        vs.                               )
                                            )                CLERK’S ACTION REQUIRED
12 MICROSOFT CORPORATION, a Washington )
   Corporation, One Redmond Way, Redmond,   )
13 Washington,                              )
                                            )
14                 Defendant(s).            )

15          The parties jointly represent that they have conferred regarding the following information,
16 are aware of all deadlines and requirements in the Pretrial Order, and certify the following to the

17
     Court regarding trial readiness. If parties are unable to confirm jointly each party is required to file
18
     a separate confirmation.
19
20 A.       All parties are represented by counsel. If any party is not represented by counsel, state that
21
            party’s name, current mailing address, and telephone number.
22

23 B.       The trial is presently set as a jury trial.

24
     C.     It is estimated, based upon a maximum of 5 trial hours per day, that this trial will last fifteen
25
            (15) days.
26

     JOINT CONFIRMATION OF TRIAL READINESS -- 1
           Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 64 of 103




 1 D.      Alternative Dispute Resolution (ADR) with a third party WAS accomplished.
           X Yes or _________ No.
 2

 3         If ADR was a neutral third party WAS NOT accomplished, you must provide a detailed
           explanation and identify what arrangements have been made to complete ADR before trial.
 4         Counsel party(ies) may be sanctioned for failure to comply with this requirement.

 5                n/a
 6

 7
     E.    Interpreter(s): X       No;            Yes [Langugae:]
 8
            Interpreter(s) requested for:(party/witness ):
 9
            Interpreter(s) arranged by:         Court
10
            Expert(s):   X     Yes;        No
11          Expert(s) Out of Town: X Yes;                No
12          Out of town parties:   X       Yes;          No

13          Out of town witnesses: X Yes;          No

14 F.      OTHER:

15
           OTHER REQUIREMENTS:
16

17         1. CR 16 CONFERENCE:
18

19         Any party may file a motion for a CR 16 Conference with the assigned Judge.

20
           2. TRIAL WEEK AVAILABILITY:
21

22         If counsel has another trial scheduled at the same time; identify name, cause number,
           venue of case, and dates of trial. Unusual problems scheduling witnesses should be
23
           noted.
24
           NOTICE: Cases otherwise ready may be held on standby status during the week trial
25         is scheduled to start. Counsel must be within two hours of the designated courthouse
           while on standby.
26

     JOINT CONFIRMATION OF TRIAL READINESS -- 2
            Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 65 of 103




 1

 2

 3

 4
            NOTE: It is the responsibility of the parties to arrange for necessary trial equipment.
 5

 6

 7

 8          DATED this 29th day of March 2024

 9
      LOWE GRAHAM JONES PLLC                           BRADLEY BERNSTEIN SANDS LLP
10

11    By: /s/Mark P. Walters                           By: /s/Erin Bernstein (with permission_)
      Mark P. Walters, WSBA No. 30819                  Heidi Bradley, WSBA No. 35759
12    Mitchell D. West, WSBA No. 53103                 hbradley@bradleyberstein.com
      Walters@LoweGrahamJones.com                      2800 First Avenue, Suite 326
13    West@LoweGrahamJones.com                         Seattle, Washington 98121
14    1325 Fourth Avenue, Suite 1130                   T: 206.337.6551
      Seattle, Washington 98101
15    T: 206.381.3300                                  Erin Bernstein, admitted pro hac vice
                                                       Gina Elliott, admitted pro hac vice
16    Attorneys for Plaintiff                          ebernstein@bradleybernstein.com
                                                       gelliott@bradleybernstein.com
17
                                                       3911 Harrison St., Suite 100
18                                                     Oakland, CA 94611

19                                                     Attorneys for Defendant

20

21

22

23

24

25

26

     JOINT CONFIRMATION OF TRIAL READINESS -- 3
            Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 66 of 103




 1                                    CERTIFICATE OF SERVICE
 2

 3          I, Rischel Voigt, hereby certify under penalty of perjury of the laws of the State of

 4 Washington that on March 29th, 2024, I caused to be served a copy of the foregoing document was

 5 filed electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will

 6
     be sent to all counsel of record via the court’s electronic filing system.
 7

 8
                                                                    /s/Rischel Voigt
 9                                                                  Rischel Voigt, Paralegal
10

11

12

13

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21

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     JOINT CONFIRMATION OF TRIAL READINESS -- 4
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 67 of 103




 EXHIBIT D
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 68 of 103
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 69 of 103
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 70 of 103
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 71 of 103
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 72 of 103




 EXHIBIT E
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 73 of 103




 1

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 5

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 8

 9
                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
10                                 COUNTY OF KING

11

12
     ATM SHAFIQUL KHALID, an individual and
13
     on behalf of similarly situated, Xencare               No. 19-2-02755-0 SEA
14

15   Software, Inc.
                                                           SUPPLEMENTAL WITNESS LIST
16
                                           Plaintiff(s),
17

18       vs.

19
     MICROSOFT CORPORATION,
20
     a Washington Corporation,
21
     One Redmond Way, Redmond, Washington
22

23

24                                     Defendant(s).
25

26



      Preliminary Witness list                                        ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                           17446 NE 28th St.
                                                                   Redmond, WA 98052, (425) 445-7157
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 74 of 103




 1   Plaintiff disclosed Preliminary Witness list on June 6th, 2022. Bellow list is to supplement the

 2   previous list that also includes the previous list.

 3
      Name and reason to be a witness                      Contact
 4
          1. ATM Shafiqul Khalid                           ATM Shafiqul Khalid
 5
      The plaintiff in this case.                          atmkhalid@gmail.com
 6                                                         Ph: 425-445-7157
 7        2. Satya Nadela, Microsoft CEO                   Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com
 8    Nadela disclosed material information on the

 9    Xbox market share in company meetings.
      Plaintiff disclosed to Nadela and his team
10
      about mini-cloud, Microsoft declined and
11
      then asserted ownership. Has knowledge
12    surrounding the dispute.
13        3. Brad Smith, Microsoft President, and          Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com
14            legal counsel

15    Plaintiff disclosed to Nadela, Brad, and his
      team about mini-cloud, Microsoft declined
16
      and then asserted ownership. Has knowledge
17
      surrounding the dispute.
18
          4. Stephen Elop, Microsoft Executive             Heidi B. Bradley
19                                                         Email: hbradley@bradleybernsteinllp.com
      Plaintiff disclosed to Nadela, Elop, and his
20    team about mini-cloud, Microsoft declined
21    and then asserted ownership. Has knowledge

22    surrounding the dispute.
          5. Patrick Evans, Microsoft employee             Heidi B. Bradley
23                                                         Email: hbradley@bradleybernsteinllp.com
      Evans contacted Khalid to assert patent
24
      ownership. Has knowledge surrounding the
25    dispute.
26        6. Shannon Carlsen, or equivalent                Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com

      Preliminary Witness list                                           ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                              17446 NE 28th St.
                                                                      Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 75 of 103




 1          Microsoft recruiter

 2   Shannon/Recruiter coordinated with Khalid
     on the employee agreement. Has knowledge
 3
     surrounding the dispute.
 4
        7. Employee Orientation stuff,              Heidi B. Bradley
 5                                                  Email: hbradley@bradleybernsteinllp.com
            Microsoft employee
 6   Conducted new employee orientation in
 7   2011. Should be able to testify how hand
 8   signatures on employee agreements are

 9   collected and processed.
        8. Andrew T. Pouzeshi or representative Heidi B. Bradley
10                                              Email: hbradley@bradleybernsteinllp.com
           of Merchant & Gold. Microsoft
11
            external contactor
12   Microsoft appointed Merchant & Gold to
13   assert ownership of Khalid's patents.
14      9. Lorraine Barrick, Expert witness in      ATM Shafiqul Khalid

15          Khalid v Citrix lawsuit. Lorraine set   atmkhalid@gmail.com
            the valuation of a startup whose        Ph: 425-445-7157
16
            recovery Microsoft damaged
17
        10. Expert Witness, to be disclosed         ATM Shafiqul Khalid
18
     To set a valuation of patent term              atmkhalid@gmail.com
19                                                  Ph: 425-445-7157
20      11. Microsoft Corporation, corporate        Heidi B. Bradley
                                                    Email: hbradley@bradleybernsteinllp.com
21          representative. Has material

22          information on how employee
            contract is managed and preserved.
23
        12. Xencare Software, Inc. Corp             ATM Shafiqul Khalid
24
            representative                          atmkhalid@gmail.com
25
     Has material information on assets and other   Ph: 425-445-7157
26   properties


     Preliminary Witness list                                     ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                        17446 NE 28th St.
                                                               Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 76 of 103




 1      13. Microsoft recruiter 2                    Heidi B. Bradley
                                                     Email: hbradley@bradleybernsteinllp.com
 2   Microsoft will identify this witness from the
     HR department who has present knowledge
 3
     and can answer how he would handle Patent
 4
     Disclosure List if an employee contacts
 5
     him/her.
 6      14. Microsoft Employee 2 And                 Heidi B. Bradley
 7                                                   Email: hbradley@bradleybernsteinllp.com
            Employee 3
 8   Microsoft will identify this witness from

 9   LCA/legal/ HR department who can testify
     to Microsoft's current policy in 2023 related
10
     to patent disclosure by an employee, along
11
     with its collection and retention.
12   Microsoft needs to identify another
13   employee who can testify regarding the same
14   issues as above with a timeline in the year

15   2011/2012.
        15. Quamrul Mina, Witness                    ATM Shafiqul Khalid
16
     Quamrul Mina will testify on his investment     atmkhalid@gmail.com
17
     commitment in 2015 of $350,000 and that he      Ph: 425-445-7157
18
     didn’t proceed because of Microsoft’s
19   assertion on patents.
20      16. Muhammed Hussain(Iqbal), Witness         ATM Shafiqul Khalid
21   Iqbal will testify on his investment            atmkhalid@gmail.com
     commitment in 2015 of $200,000 and which        Ph: 425-445-7157
22
     didn’t proceed because of Microsoft’s
23
     assertion on patents.
24
        17. Asifur Rahman, Witness                   ATM Shafiqul Khalid
25   Asif will testify on his investment             atmkhalid@gmail.com
26   commitment in 2015 of $100,000 and which        Ph: 425-445-7157


     Preliminary Witness list                                      ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                         17446 NE 28th St.
                                                                Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 77 of 103




 1   didn’t proceed because of Microsoft’s

 2   assertion on patents.
        18. Ahmed Khan, Witness                             ATM Shafiqul Khalid
 3
     Mr. Khan can testify to Khalid’s efforts on            atmkhalid@gmail.com
 4
     his patents inventions, and efforts to                 Ph: 425-445-7157
 5
     commercialize, and failures because of
 6   wrongful patent ownership dispute
 7                                                          ATM Shafiqul Khalid
        19. Mickey Ferri, Ph.D.,
 8                                                          atmkhalid@gmail.com
             Insight Economics, San Diego, CA
 9                                                          Ph: 425-445-7157
     Damage Expert witness to testify economic
10
     damage amounts to the Plaintiff's patent term
11   referenced    in   this     litigation,    economic
12   Damage to the plaintiff’s start-up business,

13   and economic damage to Plaintiff’s executive
     career. Mickey’s profile is attached to this
14
     disclosure. Mickey’s review is ongoing and
15
     he has not formed his opinion yet in this case.
16
     Mickey will testify based on his extensive
17   experience and analysis. Mickey will review
18   the pieces of evidence, damage estimation,
19   and analysis Plaintiff alleged in the complaint
     and other documents and email plaintiff
20
     furnished to Defendant.
21
     Ferri will testify about items related to
22
     damages      and   issues     identified    in   the
23   preliminary documents Plaintiff shared with
24   Microsoft under FRE 408, titled “Damage
25   Model Washington State Court”, and “Claim

26   Chart     Explaining how Xbox One and
     Windows-10 is infringing US patent No.

     Preliminary Witness list                                             ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                                17446 NE 28th St.
                                                                       Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 78 of 103




 1   8,782,637, 10,846,118, and 8,286,219” and

 2   “Claim Chart         Explaining how Sony
     PlayStation is infringing US patent No.
 3
     8,782,637, 10,846,118, and 8,286,219”.
 4

 5
        20. David B. Lett                                   ATM Shafiqul Khalid
 6   Damage Expert witness to testify economic atmkhalid@gmail.com
 7   damage amounts to the Plaintiff's patent term Ph: 425-445-7157
 8   referenced    in   this     litigation,    economic

 9   Damage to the plaintiff’s start-up business,
     and economic damage to Plaintiff’s executive
10
     career. Davids’s profile is attached to this
11
     disclosure. David’s review is ongoing and he
12   has not formed his opinion yet in this case.
13   David will testify based on his extensive
14   experience and analysis. David will review

15   the pieces of evidence, damage estimation,
     and analysis Plaintiff alleged in the complaint
16
     and other documents and email plaintiff
17
     furnished to Defendant.
18

19   David will testify on the importance of patent,
20   and incubation efforts in terms of engineering

21   hours and costs associated with developing
     inventions including prototypes.
22
     David will testify about items related to
23
     damages      and   issues     identified    in   the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                            ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                               17446 NE 28th St.
                                                                      Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 79 of 103




 1   Chart     Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart        Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7

 8      21. Tony Mason                                   ATM Shafiqul Khalid

 9   Damage Expert witness to testify technical atmkhalid@gmail.com
     issues, technology involved in the patents and Ph: 425-445-7157
10
     Plaintiff’s start-up, Microsoft products, and
11
     relevance to Plaintiff’s patent. How critical
12   those patents are to Microsoft products. Tony
13   will also testify how those patents are related
14   to other products like the Sony Play Station

15   console. Tony’s profile is attached to this
     disclosure. Tony’s review is ongoing and he
16
     has not formed his opinion yet in this case.
17
     Tony will testify based on his extensive
18
     experience and analysis. Tony will review the
19   pieces of evidence, damage estimation, and
20   analysis Plaintiff alleged in the complaint and

21   other documents and email plaintiff furnished
     to Defendant.
22
     Tony will testify about items related to
23
     damages    and    issues    identified   in   the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                         ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                            17446 NE 28th St.
                                                                   Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 80 of 103




 1   Chart     Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart         Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7       22. Toussaint L. Myricks, or any licensed ATM Shafiqul Khalid
 8           patent attorney.                          atmkhalid@gmail.com

 9   Expert witness on issues related to patent        Ph: 425-445-7157
     law, patent process, difficulties, etc.
10
     Toussaint is a licensed patent attorney and
11
     will testify on issues related to patents.
12   https://www.myrickslaw.com/meet-
13   toussaint-lmyricks-esq.html
14

15       23. Daniel C. Benson                          ATM Shafiqul Khalid
     Expert Witness. Daniel will testify on the        atmkhalid@gmail.com
16
     importance of patent, and incubation efforts      Ph: 425-445-7157
17
     in terms of engineering hours and costs
18
     associated with developing inventions
19   including prototypes. Benson’s profile is
20   attached. He will testify on issues relevant to
21   this case and that he has experience at.

22
     Benson will testify about items related to
23
     damages and issues identified in the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                        ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                           17446 NE 28th St.
                                                                  Redmond, WA 98052, (425) 445-7157
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 81 of 103




 1   Chart Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7

 8   SIGNED and DATED this __20th __ March 2023.

 9

10
     _____________
11   Plaintiff Pro Se
12   ATM Shafiqul Khalid
     17446 NE 28th ST
13   Redmond, WA 98052
     (425) 445 7157
14   atmkhalid@gmail.com
15

16

17

18

19
20

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26



      Preliminary Witness list                         ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                            17446 NE 28th St.
                                                    Redmond, WA 98052, (425) 445-7157
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 82 of 103




 1

 2

 3
                                    CERTIFICATE OF SERVICE
 4

 5
     I, ATM Shafiqul Khalid, hereby certify under penalty of perjury of the laws of the State of
 6
     Washington that on March 20, 2022, I caused to be served a copy of the foregoing document on
 7

 8   the following person(s) in the manner indicated below at the following address(es).

 9
     Heidi B. Bradley, WSBA No. 35759
10   1420 Fifth Avenue, Suite 4200
     P.O. Box 91302
11
     Seattle, WA 98111-9402
12   Telephone: 206.223.7000
     Facsimile: 206.223.7107
13   Email: hbradley@bradleybernsteinllp.com
14

15          DATED this 20th day of March, 2022, at Seattle, Washington.

16

17

18

19                                        ATM SHAFIQUL KHALID
20

21

22

23

24

25

26



      Preliminary Witness list                                       ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                          17446 NE 28th St.
                                                                  Redmond, WA 98052, (425) 445-7157
Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 83 of 103




  EXHIBIT F
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 84 of 103




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 9
                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
10                                 COUNTY OF KING

11

12
     ATM SHAFIQUL KHALID, an individual and
13
     on behalf of similarly situated, Xencare               No. 19-2-02755-0 SEA
14

15   Software, Inc.
                                                           SUPPLEMENTAL WITNESS LIST
16
                                           Plaintiff(s),
17

18       vs.

19
     MICROSOFT CORPORATION,
20
     a Washington Corporation,
21
     One Redmond Way, Redmond, Washington
22

23

24                                     Defendant(s).
25

26



      Preliminary Witness list                                        ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                           17446 NE 28th St.
                                                                   Redmond, WA 98052, (425) 445-7157
        Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 85 of 103




 1   Plaintiff disclosed Preliminary Witness list on June 6th, 2022. Bellow list is to supplement the

 2   previous list that also includes the previous list.

 3
      Name and reason to be a witness                      Contact
 4
          1. ATM Shafiqul Khalid                           ATM Shafiqul Khalid
 5
      The plaintiff in this case.                          atmkhalid@gmail.com
 6                                                         Ph: 425-445-7157
 7        2. Satya Nadela, Microsoft CEO                   Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com
 8    Nadela disclosed material information on the

 9    Xbox market share in company meetings.
      Plaintiff disclosed to Nadela and his team
10
      about mini-cloud, Microsoft declined and
11
      then asserted ownership. Has knowledge
12    surrounding the dispute.
13        3. Brad Smith, Microsoft President, and          Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com
14            legal counsel

15    Plaintiff disclosed to Nadela, Brad, and his
      team about mini-cloud, Microsoft declined
16
      and then asserted ownership. Has knowledge
17
      surrounding the dispute.
18
          4. Stephen Elop, Microsoft Executive             Heidi B. Bradley
19                                                         Email: hbradley@bradleybernsteinllp.com
      Plaintiff disclosed to Nadela, Elop, and his
20    team about mini-cloud, Microsoft declined
21    and then asserted ownership. Has knowledge

22    surrounding the dispute.
          5. Patrick Evans, Microsoft employee             Heidi B. Bradley
23                                                         Email: hbradley@bradleybernsteinllp.com
      Evans contacted Khalid to assert patent
24
      ownership. Has knowledge surrounding the
25    dispute.
26        6. Shannon Carlsen, or equivalent                Heidi B. Bradley
                                                           Email: hbradley@bradleybernsteinllp.com

      Preliminary Witness list                                           ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                              17446 NE 28th St.
                                                                      Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 86 of 103




 1          Microsoft recruiter

 2   Shannon/Recruiter coordinated with Khalid
     on the employee agreement. Has knowledge
 3
     surrounding the dispute.
 4
        7. Employee Orientation stuff,              Heidi B. Bradley
 5                                                  Email: hbradley@bradleybernsteinllp.com
            Microsoft employee
 6   Conducted new employee orientation in
 7   2011. Should be able to testify how hand
 8   signatures on employee agreements are

 9   collected and processed.
        8. Andrew T. Pouzeshi or representative Heidi B. Bradley
10                                              Email: hbradley@bradleybernsteinllp.com
           of Merchant & Gold. Microsoft
11
            external contactor
12   Microsoft appointed Merchant & Gold to
13   assert ownership of Khalid's patents.
14      9. Lorraine Barrick, Expert witness in      ATM Shafiqul Khalid

15          Khalid v Citrix lawsuit. Lorraine set   atmkhalid@gmail.com
            the valuation of a startup whose        Ph: 425-445-7157
16
            recovery Microsoft damaged
17
        10. Expert Witness, to be disclosed         ATM Shafiqul Khalid
18
     To set a valuation of patent term              atmkhalid@gmail.com
19                                                  Ph: 425-445-7157
20      11. Microsoft Corporation, corporate        Heidi B. Bradley
                                                    Email: hbradley@bradleybernsteinllp.com
21          representative. Has material

22          information on how employee
            contract is managed and preserved.
23
        12. Xencare Software, Inc. Corp             ATM Shafiqul Khalid
24
            representative                          atmkhalid@gmail.com
25
     Has material information on assets and other   Ph: 425-445-7157
26   properties


     Preliminary Witness list                                     ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                        17446 NE 28th St.
                                                               Redmond, WA 98052, (425) 445-7157
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 1      13. Microsoft recruiter 2                    Heidi B. Bradley
                                                     Email: hbradley@bradleybernsteinllp.com
 2   Microsoft will identify this witness from the
     HR department who has present knowledge
 3
     and can answer how he would handle Patent
 4
     Disclosure List if an employee contacts
 5
     him/her.
 6      14. Microsoft Employee 2 And                 Heidi B. Bradley
 7                                                   Email: hbradley@bradleybernsteinllp.com
            Employee 3
 8   Microsoft will identify this witness from

 9   LCA/legal/ HR department who can testify
     to Microsoft's current policy in 2023 related
10
     to patent disclosure by an employee, along
11
     with its collection and retention.
12   Microsoft needs to identify another
13   employee who can testify regarding the same
14   issues as above with a timeline in the year

15   2011/2012.
        15. Quamrul Mina, Witness                    ATM Shafiqul Khalid
16
     Quamrul Mina will testify on his investment     atmkhalid@gmail.com
17
     commitment in 2015 of $350,000 and that he      Ph: 425-445-7157
18
     didn’t proceed because of Microsoft’s
19   assertion on patents.
20      16. Muhammed Hussain(Iqbal), Witness         ATM Shafiqul Khalid
21   Iqbal will testify on his investment            atmkhalid@gmail.com
     commitment in 2015 of $200,000 and which        Ph: 425-445-7157
22
     didn’t proceed because of Microsoft’s
23
     assertion on patents.
24
        17. Asifur Rahman, Witness                   ATM Shafiqul Khalid
25   Asif will testify on his investment             atmkhalid@gmail.com
26   commitment in 2015 of $100,000 and which        Ph: 425-445-7157


     Preliminary Witness list                                      ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                         17446 NE 28th St.
                                                                Redmond, WA 98052, (425) 445-7157
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 1   didn’t proceed because of Microsoft’s

 2   assertion on patents.
        18. Ahmed Khan, Witness                             ATM Shafiqul Khalid
 3
     Mr. Khan can testify to Khalid’s efforts on            atmkhalid@gmail.com
 4
     his patents inventions, and efforts to                 Ph: 425-445-7157
 5
     commercialize, and failures because of
 6   wrongful patent ownership dispute
 7                                                          ATM Shafiqul Khalid
        19. Mickey Ferri, Ph.D.,
 8                                                          atmkhalid@gmail.com
             Insight Economics, San Diego, CA
 9                                                          Ph: 425-445-7157
     Damage Expert witness to testify economic
10
     damage amounts to the Plaintiff's patent term
11   referenced    in   this     litigation,    economic
12   Damage to the plaintiff’s start-up business,

13   and economic damage to Plaintiff’s executive
     career. Mickey’s profile is attached to this
14
     disclosure. Mickey’s review is ongoing and
15
     he has not formed his opinion yet in this case.
16
     Mickey will testify based on his extensive
17   experience and analysis. Mickey will review
18   the pieces of evidence, damage estimation,
19   and analysis Plaintiff alleged in the complaint
     and other documents and email plaintiff
20
     furnished to Defendant.
21
     Ferri will testify about items related to
22
     damages      and   issues     identified    in   the
23   preliminary documents Plaintiff shared with
24   Microsoft under FRE 408, titled “Damage
25   Model Washington State Court”, and “Claim

26   Chart     Explaining how Xbox One and
     Windows-10 is infringing US patent No.

     Preliminary Witness list                                             ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                                17446 NE 28th St.
                                                                       Redmond, WA 98052, (425) 445-7157
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 1   8,782,637, 10,846,118, and 8,286,219” and

 2   “Claim Chart         Explaining how Sony
     PlayStation is infringing US patent No.
 3
     8,782,637, 10,846,118, and 8,286,219”.
 4

 5
        20. David B. Lett                                   ATM Shafiqul Khalid
 6   Damage Expert witness to testify economic atmkhalid@gmail.com
 7   damage amounts to the Plaintiff's patent term Ph: 425-445-7157
 8   referenced    in   this     litigation,    economic

 9   Damage to the plaintiff’s start-up business,
     and economic damage to Plaintiff’s executive
10
     career. Davids’s profile is attached to this
11
     disclosure. David’s review is ongoing and he
12   has not formed his opinion yet in this case.
13   David will testify based on his extensive
14   experience and analysis. David will review

15   the pieces of evidence, damage estimation,
     and analysis Plaintiff alleged in the complaint
16
     and other documents and email plaintiff
17
     furnished to Defendant.
18

19   David will testify on the importance of patent,
20   and incubation efforts in terms of engineering

21   hours and costs associated with developing
     inventions including prototypes.
22
     David will testify about items related to
23
     damages      and   issues     identified    in   the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                            ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                               17446 NE 28th St.
                                                                      Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 90 of 103




 1   Chart     Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart        Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7

 8      21. Tony Mason                                   ATM Shafiqul Khalid

 9   Damage Expert witness to testify technical atmkhalid@gmail.com
     issues, technology involved in the patents and Ph: 425-445-7157
10
     Plaintiff’s start-up, Microsoft products, and
11
     relevance to Plaintiff’s patent. How critical
12   those patents are to Microsoft products. Tony
13   will also testify how those patents are related
14   to other products like the Sony Play Station

15   console. Tony’s profile is attached to this
     disclosure. Tony’s review is ongoing and he
16
     has not formed his opinion yet in this case.
17
     Tony will testify based on his extensive
18
     experience and analysis. Tony will review the
19   pieces of evidence, damage estimation, and
20   analysis Plaintiff alleged in the complaint and

21   other documents and email plaintiff furnished
     to Defendant.
22
     Tony will testify about items related to
23
     damages    and    issues    identified   in   the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                         ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                            17446 NE 28th St.
                                                                   Redmond, WA 98052, (425) 445-7157
       Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 91 of 103




 1   Chart     Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart         Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7       22. Toussaint L. Myricks, or any licensed ATM Shafiqul Khalid
 8           patent attorney.                          atmkhalid@gmail.com

 9   Expert witness on issues related to patent        Ph: 425-445-7157
     law, patent process, difficulties, etc.
10
     Toussaint is a licensed patent attorney and
11
     will testify on issues related to patents.
12   https://www.myrickslaw.com/meet-
13   toussaint-lmyricks-esq.html
14

15       23. Daniel C. Benson                          ATM Shafiqul Khalid
     Expert Witness. Daniel will testify on the        atmkhalid@gmail.com
16
     importance of patent, and incubation efforts      Ph: 425-445-7157
17
     in terms of engineering hours and costs
18
     associated with developing inventions
19   including prototypes. Benson’s profile is
20   attached. He will testify on issues relevant to
21   this case and that he has experience at.

22
     Benson will testify about items related to
23
     damages and issues identified in the
24
     preliminary documents Plaintiff shared with
25   Microsoft under FRE 408, titled “Damage
26   Model Washington State Court”, and “Claim


     Preliminary Witness list                                        ATM SHAFIQUL KHALID
     Case No. 19-2-02755-0 SEA                                           17446 NE 28th St.
                                                                  Redmond, WA 98052, (425) 445-7157
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 1   Chart Explaining how Xbox One and

 2   Windows-10 is infringing US patent No.
     8,782,637, 10,846,118, and 8,286,219” and
 3
     “Claim Chart Explaining how Sony
 4
     PlayStation is infringing US patent No.
 5
     8,782,637, 10,846,118, and 8,286,219”.
 6

 7

 8   SIGNED and DATED this __20th __ March 2023.

 9

10
     _____________
11   Plaintiff Pro Se
12   ATM Shafiqul Khalid
     17446 NE 28th ST
13   Redmond, WA 98052
     (425) 445 7157
14   atmkhalid@gmail.com
15

16

17

18

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20

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24

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26



      Preliminary Witness list                         ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                            17446 NE 28th St.
                                                    Redmond, WA 98052, (425) 445-7157
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 1

 2

 3
                                    CERTIFICATE OF SERVICE
 4

 5
     I, ATM Shafiqul Khalid, hereby certify under penalty of perjury of the laws of the State of
 6
     Washington that on March 20, 2022, I caused to be served a copy of the foregoing document on
 7

 8   the following person(s) in the manner indicated below at the following address(es).

 9
     Heidi B. Bradley, WSBA No. 35759
10   1420 Fifth Avenue, Suite 4200
     P.O. Box 91302
11
     Seattle, WA 98111-9402
12   Telephone: 206.223.7000
     Facsimile: 206.223.7107
13   Email: hbradley@bradleybernsteinllp.com
14

15          DATED this 20th day of March, 2022, at Seattle, Washington.

16

17

18

19                                        ATM SHAFIQUL KHALID
20

21

22

23

24

25

26



      Preliminary Witness list                                       ATM SHAFIQUL KHALID
      Case No. 19-2-02755-0 SEA                                          17446 NE 28th St.
                                                                  Redmond, WA 98052, (425) 445-7157
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CONFIDIENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT




February 8, 2024

Mark Walters
Lowe Graham Jones PLLC
1325 4th Avenue,
Seattle, WA 98101




Dear Attorney Walters:
As you are aware, I have been retained in the matter of Khalid v. Microsoft, in
King County Superior Court to evaluate specific patent technology that is part of
an ongoing dispute between the parties.

In my role, I act as a neutral party providing my expert evaluation of the
evidence I am asked to review. I have no interest in the outcome of the case,
and I have no personal relationship with any of the parties involved. In
reviewing the materials, I have provided my opinion of the evidence based upon
my education, experience, and knowledge in the technology industry. I have
provided a copy of my current CV and litigation history along with this letter.

Please note that this letter is not a full report. Thus, I have not exhaustively
evaluated the patents for validity. Instead, I have assumed that the patents are,
as issued, valid and that should the parties engage in litigation in the future
about patent infringement a complete analysis of them will be required.




614 NASHUA ST # 139 MILFORD NH 03055
T (603) 769-8605 U WAMASON.COM
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT



In the current case, I have merely been asked to evaluate the patents,
determine if they apply to game console emulation and cloud gaming, and if so,
to identify potential parties that may be infringing these patents.

The three patents that I have reviewed are: 8,782,637, 10,846,118, and
8,286,219. I have obtained copies of those patents and the patent files from the
USPTO’s patent service. I have done a cursory review of the file records and
have considered the patents and how they apply to: (1) game console
emulation, such as is sometimes used to allow older console games to play on
newer consoles, and (2) cloud gaming. These techniques are tied to a general
concept known as virtualization.

Virtualization is not a new concept – IBM first proposed building products with
full hardware virtualization in 1967 and commercially shipped their first fully
virtual system in 1972. This was the basis of the VM/CMS operating system that
was used on IBM mainframes, and a variant of it is still used to this day.

Microprocessors did not have sufficient processing power to provide
virtualization support. The first notable Intel CPU with virtualization was the
80386, which introduced the concept of a “virtual 8086”. This was, in fact, a
“backwards compatibility solution” to allow programs that could not run in the
protected mode of the 80386 CPU (a full 4GB virtual address space) to operate
in a special environment where the running program behaved as if it were
running on the older Intel CPU. While there were significant limitations to this
virtualization, it provided the seed of hardware virtualization on Intel CPUs that
ultimately culminated in the introduction of hardware supported virtualization.
Early companies, including VMWare (now a subsidiary of Broadcom) and Xen,
achieved this by providing partial hardware virtualization and implementing
software mechanisms to overcome the limitations of Intel hardware.

Intel introduced hardware assisted virtualization (VX-x) in 2005, and AMD
introduced hardware assisted virtualization (AMD-V) in 2006. These early
hardware virtualization mechanisms had significant limitations, including in
terms of performance, and thus were not used in performance critical usage
scenarios. However, both Intel and AMD have enhanced their hardware



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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT



virtualization to permit. In the timeframe of the two older patents filing (2010),
Intel processor hardware virtualization technology was making the key steps
that were required to enabling its broader use for performance critical
virtualization: 2008 was the introduction of Extended Page Tables (a mechanism
to improve performance of address translations in virtualized machines,) 2010
allowed running logical processors in real mode (which required EPT). It isn’t
until 2013 that Intel introduced greater support for nested virtual machines
(that is a virtual machine running within another virtual machine.)

The reason I have provided this historical background is to explain that the older
two patents were forward-looking relative to the state of the actual hardware
capabilities at the time the patents were filed.

As the industry has progressed, earlier alternatives to hardware virtualization
have largely disappeared due to their complexity and technological limitations.

The primary benefit of virtualization in data centers, which is directly applicable
to cloud gaming, is that it provides highly flexible scaling of services. Increased
demand can often be satisfied simply by creating a new “virtual machine.” This
flexibility has led to the rise of large service providers including Amazon,
Microsoft, IBM, and Google. These companies constantly look for new ways to
increase the flexibility and support of their service centers. For example, to
support an Xbox 360 emulator inside an Azure data center does not require
installing any Xbox hardware – it merely requires creating a virtual machine that
provides the capabilities of the Xbox hardware. The graphics elements are then
compressed and sent to a client device.

There are significant benefits to this approach: dynamic flexibility in scaling
services to satisfy instant demand, the use of a combination of commodity and
customized hardware, and the ability to introduce optimizations that are simply
impossible if the game console is inside an end-user’s entertainment room.

In considering these patents and their potential use by third parties, I have
identified four companies that appear to be using virtualization-based solutions
consistent with the claims of the patents. They are:




3
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT



    •   Sony. Their PS3 platform was based on the cell processor, which was a
        descendant of the Power PC processor, it is not an Intel-compatible CPU.
        To make PS3 games work on subsequent platforms was most easily
        implemented using a virtual machine that emulated the cell processor
        instruction set. Other alternatives would have been more expensive and
        less flexible. While it is possible Sony used a virtualization solution for
        PS4 to PS5 compatibility, there is insufficient public information to
        determine if this is, in fact, the case.
    •   Microsoft. Their original Xbox console was based on an Intel CPU, while
        their second-generation console, Xbox 360 used a PowerPC based CPU
        architecture, which was not compatible with their previous Intel CPU
        architecture. In addition, their GPU architecture changed from an Nvidia
        processor to an ATI (now AMD) processor. Thus, to run legacy games,
        Microsoft had to create an efficient mechanism for emulating the
        previous game console, both in terms of its CPU and GPU. This is most
        easily accomplished using virtualization techniques. Other techniques
        would have been more expensive and less performance. Note that I
        have not reviewed the Xbox 360 software and hardware to confirm that
        they use virtualization. In addition, Microsoft’s foray into cloud gaming is
        based upon normal data center service models, which include providing
        both specialized hardware and software via virtual machines. Microsoft
        is increasingly depending upon cloud gaming services to extend their
        market share, with industry expectations that Microsoft will announce
        support for cloud gaming on Sony consoles; this is in keeping with the
        concessions they made as part of their recent Activision/Blizzard
        acquisition. I also note that in Microsoft’s earning report as of January
        30, 2024, the gaming division now earns more revenue than the
        Windows division, for the first time in company history.
    •   Amazon Luna is a cloud gaming service. Such services will, as a matter of
        efficiency, use a virtual machine mechanism to isolate game players from
        each other, as well as to provide flexible scaling of services based upon
        demand. The ability to play a game on one console from another
        console is not new – the existing consoles from Sony and Microsoft have
        provided backwards compatibility – but the bulk of revenue in the



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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT



        gaming field is from the games, not the hardware that is used to display
        them. Amazon does not have a gaming console, instead their games are
        played on a variety of end-user devices. This general trend of decoupling
        the games from the end-user device is clearly a byproduct of the
        benefits of virtualization – the virtual machine can create whatever
        environment is needed for the game, while the graphics are displayed on
        the end-user device.
    •   Nvidia GeForce Now provides a large collection of games that are run on
        Nvidia’s own cloud gaming platform and then displayed on the end-user
        devices. While I have not reviewed the technical implementation of the
        Nvidia service, given its structure as a cloud service offering, it is
        reasonable to expect that their implementation will use normal data
        center techniques for virtualizing services. This allows numerous users to
        play games simultaneously, with the appearance that each one is
        running on their own machine – this is the very essence of virtualization.

In addition, I found at least one public project that allows running PS5 games on
Windows and Mac OS, which also incorporates the methods taught in the
patents. See https://pcsx5.org, which says: “PCSX5 is a beta PlayStation 5
emulator project based on hardware-assisted virtualization which allows you to
play PS4 and PS5 games on your PC & macOS. It requires your PS5 console to
grab “play-station device identifier” (PDIX) and original PS4 / PS5 games.” I note
that this is consistent with my observation that using virtualization is the
simplest and most effective way to implement this functionality – if there were
an easier way, an open source project like this would have used it.

The cloud gaming space is a rapidly growing one. According to Fortune Business
Insights, the consolidated annual growth rate (CAGR) from 2023 to 2030 is
projected to be 39.46%, which moves from a $5.76 billion market in 2022 to an
$84.97 billion market in 2030. It is difficult to imagine this level of growth if the
industry needed to find an alternative to the virtualization mechanisms that are
routinely used today.

Thus, based upon my review of the information available to me,




5
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER – PRELIMINARY DRAFT



    •   The patents appear to be technically sound.
    •   The patents appear to read onto the common implementation models
        for console emulation in both end-user console devices (“backwards
        compatibility” for old game support) and for enabling end user devices
        to play games that are emulated in the cloud, with an end-user device
        interacting with the cloud service via the internet.
    •   I am not aware of any alternatives to the virtual machine model that we
        use today to implement this type of functionality.
    •   The claims of the ‘637 and ‘118 patents describe techniques that are
        consistent with publicly available information from Microsoft. Without
        using these technologies, Microsoft would need to explore alternatives
        that are less efficient and more expensive.
    •   The clouding of the title of these patents materially impairs the ability to
        assert them, which means that the owner has lost substantial value.
    •   The value of these patents moving forward, as part of the increased
        growth of cloud gaming, means that the techniques taught by these
        patents have significant potential to grow in value – a $90 billion market
        is a truly lucrative one for licensing critical technology such as these
        patents represent. Thus, I would expect the patent owner to license
        these patents on reasonable terms to Amazon, Microsoft, Sony, Nvidia,
        and other companies participating in both console and cloud gaming
        businesses, which seem to be converging.

Please note that this is not a formal report, and that while they are correct
relative to my knowledge and analysis of the specific facts, they are subject to
change upon a formal review, drafting of a report, and more detailed
examination of additional evidence.



Sincerely,



W. Anthony Mason




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 EXHIBIT H
                 Case 2:24-cv-00449-JNW Document 14 Filed 04/11/24 Page 102 of 103


Mitchell West

From:                                Gillum, Monica <Monica.Gillum@kingcounty.gov>
Sent:                                Thursday, April 4, 2024 10:23 AM
To:                                  Erin Bernstein
Cc:                                  Heidi Bradley; Mark Walters; Mitchell West
Subject:                             RE: KHALID V. MICROSOFT; 19-2-02755-0 SEA


Good Morning~

Thank you for the update.



Monica
Bailiff to Judge James (Jim) E. Rogers

From: Erin Bernstein <ebernstein@bradleybernstein.com>
Sent: Thursday, April 4, 2024 10:08 AM
To: Gillum, Monica <Monica.Gillum@kingcounty.gov>
Cc: Heidi Bradley <hbradley@bradleybernstein.com>; walters@lowegrahamjones.com; west@lowegrahamjones.com
Subject: Re: KHALID V. MICROSOFT; 19-2-02755-0 SEA


[EXTERNAL Email Notice! ] External communication is important to us. Be cautious of phishing attempts. Do not click or open
suspicious links or attachments.


Ms. Gillum—

I’m writing to inform chambers that this case has been removed, and that the pending motion therefore need not be
decided.

Thank you,

Erin Bernstein

Get Outlook for iOS

From: Erin Bernstein
Sent: Monday, March 25, 2024 6:52:06 PM
To: Gillum, Monica <Monica.Gillum@kingcounty.gov>
Cc: Heidi Bradley <hbradley@bradleybernstein.com>; walters@lowegrahamjones.com
<walters@lowegrahamjones.com>; west@lowegrahamjones.com <west@lowegrahamjones.com>
Subject: RE: KHALID V. MICROSOFT; 19-2-02755-0 SEA

Ms. Gillum—
Good afternoon! I’m writing on behalf of Microsoft in the matter of Khalid v. Microsoft (case no. 19-2-
02755-0 SEA). I'm following up on my voicemail from earlier this morning, in the event that e-mail is
preferable.

                                                                 1
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We understood from Judge Rogers that he anticipated issuing an order on the parties' respective motions
for summary judgment by March 15. We have not yet received the order, so I wanted to check in to make
sure that we had not missed the issued order, as this case is not assigned to Judge Rogers for all purposes.

As an update, the parties have a status conference before Judge Straley next week, and must submit their
joint pretrial form this Friday.

Thank you for your assistance,
Erin Bernstein



                                 Erin Bernstein
                                        (she/her)
                                California Office


                                   T 510-380-5801
                  ebernstein@bradleybernstein.com
                             bradleybernstein.com




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